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                                            FINAL LIST OF PROPOSED EXHIBITS
                                                    144
CASE NO. 17-cr-00008-WJM      PLAINTIFF’S LIST: ☒   DEFENDANT’S LIST: ☐   THIRD PTY DEFTS. LIST: ☐

CASE CAPTION ____United States_____ vs. _______Guy Jean-Pierre____          DATE: January 14, 2018

LIST PLAINTIFF’S EXHIBITS BY NUMBERS (1, 2, 3, etc.) and DEFENDANT’S BY LETTER (A, B, C, etc.)

EXHIBIT                                                        ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                       DVD - Audio Only - 2014-05-14
           W. Sears    Recording of Meeting at FSPM Office                        1/16               Day 3
    1      FBI UC#1    1D6
                       DVD - Video/Audio - 2014-05-14
           W. Sears    Recording of Meeting at FSPM Office                        1/16               Day 3
   1a      FBI UC#1    1D7 Disk 1 of 2
                       DVD - Video/Audio - 2014-05-14
           W. Sears    Recording of Meeting at FSPM Office                        1/16               Day 3
   1b      FBI UC#1    1D7 Disk 2 of 2
    2
                       2014-05-14 (Excerpt 1) Recording of
           W. Sears    Meeting at FSPM Office - Synced Video                                         Day 3
                                                                                  1/16
   2a      FBI UC#1    & Transcript
                       2014-05-14 (Excerpt 2) Recording of
           W. Sears    Meeting at FSPM Office - Synced Video                      1/16               Day 3
   2b      FBI UC#1    & Transcript
                       2014-05-14 (Excerpt 3) Recording of
           W. Sears    Meeting at FSPM Office - Synced Video                      1/16               Day 3
    2c     FBI UC#1    & Transcript
                       2014-05-14 (Excerpt 4) Recording of
           W. Sears    Meeting at FSPM Office - Synced Video                      1/16               Day 3
   2d      FBI UC#1    & Transcript
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EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                         2014-05-14 (Excerpt 5) Recording of
           W. Sears      Meeting at FSPM Office - Synced Video                                             Day 3
                                                                                     1/16
   2e      FBI UC#1      & Transcript
                         2014-05-14 (Excerpt 6) Recording of
           W. Sears      Meeting at FSPM Office - Synced Video                       1/16
                                                                                                           Day 3
   2f      FBI UC#1      & Transcript
           W. Sears      Transcript - 2014-05-14 Recording of
   3       FBI UC#1      Meeting at FSPM Office
                         DVD - Audio Only - 2014-07-18
           S. Dittman    Recording of Meeting with Scott
   4       FBI UC#1      Dittman at Starbucks 1D9
                         DVD - Video/Audio - 2014-07-18
           S. Dittman    Recording of Meeting with Scott
   4a      FBI UC#1      Dittman at Starbucks 1D10
   5

                         2014-07-18 (Excerpt 1) Recording of
           S. Dittman    Meeting with Scott Dittman at                               1/17                  Day 4
   5a      FBI UC#1      Coffeeshop - Synced Video & Transcript

                         2014-07-18 (Excerpt 2) Recording of
           S. Dittman    Meeting with Scott Dittman at                               1/17                  Day 4
   5b      FBI UC#1      Coffeeshop - Synced Video & Transcript

           S. Dittman    Transcript - 2014-07-18 Recording of
   6       FBI UC#1      Meeting with Scott Dittman at Starbucks
   7
                         OTC Attorney Letter Agreements - Jean-                                            Day 5
   8       OTC           Pierre                                                      1/18
   9       OTC           Summary Chart - OTC Filings                        X        1/18                  Day 5
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EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                       Letter from OTC Markets to Jean-Pierre                                           Day 5
                                                                                   1/18
   10      OTC         re: List of Prohibited Attorneys
                       Email from Heese to Finra dated
                       6/6/2011 with subject "Guy Jean Pierre                      1/18                 Day 5
   11      OTC         and his successors"

                     OTC Filing - FusionPharm Information
                     and Disclosure Statement for the period                                            Day 5
                                                                                   1/18
   12      OTC       ended June 30, 2011                                 X
                     OTC Filing - FusionPharm Attorney
           OTC       Opinion Letter by DiTommaso for period                                             Day 5
                                                                                   1/18
   13      DiTommaso ended June 30, 2011                                 X

                       OTC Filing - FusionPharm Statement of                                             Day 5
   14      OTC         Income for period ended June 30, 2011             X         1/18
                       OTC Filing - FusionPharm Notes to
                       Financial Statements for period ended                                             Day 5
                                                                                   1/18
   15      OTC         June 30, 2011                                     X
                       Email from Dittman to OTC Markets
                       dated 12/02/2011 subject: "RE: OTCIQ
                       User: Company Information Update for
   16      OTC         Fusion Pharm, Inc.                                X
                       OTC Filing - FusionPharm Statement of
                       Income for period ended September 30,                       1/18                  Day 5
   17      OTC         2011                                              X
                       OTC Filing - FusionPharm Notes to
                       Financial Statements for period ended                       1/18                  Day 5
   18      OTC         September30, 2011                                 X
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EXHIBIT                                                        ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           OTC       OTC Filing - FusionPharm Annual
           Bodden    Information and Disclosure Statement                         1/17                Day 4
   19      Duke      for period ended December 31, 2011                 X
                     OTC Filing - FusionPharm Quarterly
           OTC       Report for the period ended March 31,                        1/17                Day 4
  19a      Bodden    2012                                               X
                     OTC Filing - FusionPharm Quarterly
           OTC       Report for the period ended June 30,                         1/18                Day 5
  19b      Bodden    2012                                               X
                     OTC Filing - FusionPharm Quarterly
                     Report for the period ended September                        1/18                Day 5
  19c      Bodden    30, 2012                                           X
                     OTC Filing - FusionPharm Attorney
           OTC       Opinion Letter by DiTommaso for period                                           Day 5
                                                                                  1/18
   20      DiTommaso ended September 30, 2011                           X

                     OTC Filing - FusionPharm Information
                                                                                                      Day 5
                     and Disclosure Statement for the period                      1/18
   21      OTC       ended September 30, 2011                           X
                     OTC Filing - FusionPharm Attorney
           OTC       Opinion Letter by DiTommaso for period                       1/18                Day 5
   22      DiTommaso ended December 31, 2011                            X
                     OTC Filing - FusionPharm Attorney
           OTC       Opinion Letter by DiTommaso for period                       1/18                Day 5
   23      DiTommaso ended March 31, 2012                               X
                     OTC Filing - FusionPharm Attorney
           OTC       Opinion Letter by DiTommaso for period                       1/18                Day 5
   24      DiTommaso ended June 30, 2012                                X
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EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     OTC Filing - FusionPharm Annual
           OTC       Information and Disclosure Statement
                                                                                    1/17                 Day 4
   25      DiTommaso for period ended December 31, 2012                   X
                     OTC Filing - FusionPharm Attorney
           OTC       Opinion Letter by DiTommaso for period                                             Day 5
                                                                                    1/18
   26      DiTommaso ended December 31, 2012                              X
                     OTC Filing - FusionPharm Quarterly
                     Report for the period ended March 31,                          1/18                Day 5
   27      OTC       2013                                                 X
                     OTC Filing - FusionPharm Attorney
           OTC       Opinion Letter by DiTommaso for period                         1/18                Day 5
   28      DiTommaso ended March 31, 2013                                 X

                     OTC Filing - FusionPharm OTC Pink Basic                                            Day 5
   29      OTC       Disclosure Guidelines filled in by FSPM              X         1/18
                     OTC Filing - FusionPharm Quarterly
                     Report for the period ended June 30,                                               Day 5
                                                                                    1/18
   30      OTC       2013                                                 X
                     OTC Filing - FusionPharm Attorney
           OTC       Opinion Letter by DiTommaso for period                                             Day 5
                                                                                    1/18
   31      DiTommaso ended June 30, 2013                                  X
                     Email from Sears to Dahlman dated
                     09/14/2010 attaching Debt Settlement
                                                                                    1/14                 Day 1
                     Agreement signed by Dahlman and
   32      Dahlman   Sears                                                X

                       Email from Sears to Dahlman on
                                                                                    1/14                 Day 1
                       11/08/2010 Instruction for share
   33      Dahlman     transfers to Dahlman, Microcap and Salt            X
                       Frederick and Belle Dahlman's
   34      Dahlman     resignation from Baby Bee Bright                   X         1/16                 Day 3
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EXHIBIT                                                              ADM /                        RUL.
NO. /LTR    WITNESS                   DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                         Email from Sears to Fred Dahlman dated
                         11/19/2010 Instruction for share                                                      Day 1
           Dahlman       transfers to Dahlman, Microcap, Robert                         1/14
   35      R. Dittman    Dittman, and Salt                                    X
                         Letter from Dahlman to Pacific Stock
                         Transfer Co. with instructions for share                       1/14                   Day 1
   36      Dahlman       transfers                                            X

                         Email from Sears to Dahlman dated
                         03/01/2011 attaching Letter of Transfer                        1/14                   Day 1
                         of Series A Preferred Shares of Baby Bee
   37      Dahlman       Bright to Microcap to be given to DiBella            X
   38
   39
                         Email from Sears to
                         bjohn@mazdaoflakewood.dealercrm cc
                                                                                                             Day 1 and 4
           W. Sears      Blume dated 1/30/2012 attaching                                1/14
  40       Blume         Blume letter                                         X
                         Email from Blume to Dittman dated
                                                                                        1/18                   Day 5
  41       Blume         7/5/2012 with subject "FYI"                          X
  42

                         Email from Bohlender to Dittman dated
                         8/15/2011 with subject "Billy's role and
  43       Bohlender     the company structure"                               X
                         Email from Bohlender to Dittman dated
  44       Bohlender     9/14/2011 with subject "Hey"                         X
  45
  46
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EXHIBIT                                                           ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                       Oppenheimer -Due Diligence and Wire
                       Instructions for Microcap Management                                                  Day 5
  47       Saia        account ending in 9990                                        1/18
  48
  49
           L. Jean-
  50       Pierre      Leslie Jean-Pierre SEC testimony

           L. Jean-    Leslie Jean-Pierre Grand Jury testimony
  51       Pierre      in the NY state case on 8/15/2013
           L. Jean-    OTC Attorney Letter Agreements -                                             Day 6 - Duplicative Pages Must be
                                                                                     1/22           Removed (Pages 3, 4, 7, 8, 11-18 &37-72
  52       Pierre      Dinwoodie
                       Attorney Letter Agreement v2.4 January                                       are removed)
                                                                                     1/18                    Day 5
  53       OTC         14, 2011                                            X
                       Guidelines for Providing Adequate
                       Current Information - v. 10.0 updated                         1/18                    Day 5
  54       OTC         1/14/2011 -                                         X
                       Guidelines for Providing Adequate
                       Current Information - v. 10.1 updated                         1/18
                                                                                                             Day 5
  55       OTC         1/31/2012                                           X
                       Pink Basic Disclosure Guidelines v. 1.0
                                                                                     1/18                    Day 5
  56       OTC         updated 1/3/2013                                    X
                       Pink Basic Disclosure Guidelines v. 1.1
                                                                                     1/18                    Day 5
  57       OTC         updated 4/25/2013                                   X
  58
  59
           PSTC -      Email from Dibella to Sears and
           DiBella     Dahlman dated 12/2/2010 with subject
           Dahlman     "Transfer of BBYB Preferred Shares (Cert                      1/18                     Day 5
  60       W. Sears    No 1007)"                                           X
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EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
           PSTC -
           DiBella     PSTC packet for transaction number                            1/16                Day 3
  61       Dahlman     10701                                                X
           PSTC -
           DiBella     Email from Jean-Pierre to Dibella with cc
           Kramer      Sears dated 2/11/2011 with subject                            1/18                Day 5
  62       W. Sears    "BBYB Information"                                   X
           PSTC -
           DiBella     PSTC packet for transaction number                            1/16                Day 3
  63       Dahlman     12834                                                X
  64
                       Email from Dibella to Beth Looker cc
           PSTC -      Claiborne dated 11/7/2012 with subject                        1/18                Day 5
  65       DiBella     "FusionPharm notes?"                                 X

                       Email from DiBella to Dittman dated
                       12/17/2012 attaching a convertible
                       note between Bayside Realty Holdings                          1/18                Day 5
           PSTC -      and Fusion Pharm from Sandra Sears to
  66       DiBella     DiBella dated 12/13/2012                             X
           PSTC -      Email from Sandra Sears to Dibella cc
           DiBella     Sears dated 12/24/2012 with subject                           1/18                Day 5
  67       W. Sears    "Convertible note"                                   X
  68
           PSTC -      Email from Sears to Dibella dated
           DiBella     12/26/2012 with subject "Convertible                          1/15                Day 2
  69       W. Sears    note"                                                X
           PSTC -      Email #2 from Sears to Dibella dated
           DiBella     12/26/2012 with subject "Convertible                          1/15                Day 2
  70       W. Sears    note"                                                X
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EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
           PSTC -      Email from Dibella to Sears dated
           DiBella     12/27/2012 with subject "Convertible                                              Day 5
                                                                                  1/18
  71       W. Sears    note"                                             X

           PSTC -
           DiBella                                                                                       Day 3
           DiTommaso PSTC packet for transaction number                           1/16
  72       Ssears    12986                                               X
           PSTC -
                                                                                  1/18
  73       DiBella   FedEx Tracking number 794557022916                  X                               Day 5
                     Email from Sears to Dibella dated
           PSTC -    3/7/2013 with subject "BSRH Note
           DiBella   LOP.pdf attaching DiTommaso Attorney                                                Day 2
  74       W. Sears  Opinion Letters                                     X        1/15
           PSTC -
           DiBella   Email from Dibella to Sears cc Dittman                                             Day 10
                                                                                  1/28
  75       W. Sears  dated 3/11/2013 with blank subject                  X

            PSTC -
           DiBella
           DiTommaso
                                                                                  1/18                   Day 5
           S. Sears  PSTC packet for transaction number
  76       (mom)     12992                                               X

           PSTC -      Email from Sears to Dibella cc Dittman
           DiBella     dated 4/11/2013 with subject                                                      Day 2
   77      W. Sears    "Meadpoint Venture Partners FSPM"                 X        1/15


           PSTC -
           DiBella   PSTC packet for transaction number                           1/18                   Day 5
   78      DiTommaso 12998                                               X
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EXHIBIT                                                           ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           PSTC -
           DiBella   PSTC packet for transaction number                              1/18                  Day 5
   79      DiTommaso 13002                                                 X
           PSTC -
                                                                                     1/18                  Day 5
   80      DiBella   FedEx Tracking number 796476186341                    X

                        Email from Sears to Dibella dated
           PSTC -       8/27/2013 with subject "Mdpt"                                                      Day 2
           DiBella      attaching DiTommaso Attorney Opinion                         1/15
   81      W. Sears     Letter and Credit Card Authorization               X
           PSTC -
           DiBella      Email from Dibella to Sears dated                                                  Day 2
                                                                                     1/15
   82      W. Sears     8/27/2013 with subject "Mdpt"                      X
           PSTC -
           DiBella      Email from Sears to Dibella dated
   83      W. Sears     8/29/2013 with "Mdpt"                              X

           PSTC -
           DiBella                                                                                         Day 5
           DiTommaso                                                                 1/18
           Thaden       PSTC packet for transaction number
   84      Scholz       13003                                              X
           PSTC -
           DiBella      Email from Sears to PSTC dated                                                     Day 2
                                                                                     1/15
   85      W. Sears     9/19/2013 with subject "Issuance"                  X
   86
   87
   88
   89
           PSTC -
   90      Claiborne    List of Attorneys for Heightened Review                      1/18                  Day 5
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EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
           PSTC -
           Claiborne
                                                                                    1/23                 Day 7
           S. Sears     Baby Bee Bright Shareholder consent to
   91      (mom)        appoint Dittman and Sandra Sears                  X
           PSTC -       Email from Sears to PSTC and Jean-
           Claiborne    Pierre dated 2/15/2011 with subject
                                                                                    1/14                 Day 1
           Kramer       "Baby Bee Bright Corporation Reverse
   92      W. Sears     Split"                                            X
                        Email from Upham to PSTC dated
           PSTC -       2/16/2011 with subject "Baby Bee                            1/28                Day 10
   93      Claiborne    Bright Corporation Reverse Split"                 X
           PSTC -       Letter from Jean-Pierre to NASDAQ
   94      Claiborne    OMX Group dated 2/16/2011                         X
           PSTC -       PSTC packet for transaction number
   95      Claiborne    12883                                             X
           PSTC -
   96      Claiborne    BBYB: Reverse Split Information                   X
            PSTC -
           Claiborne
           S. Sears
           (wife)       PSTC packet for transaction number                                               Day 7
                                                                                    1/23
   97      Scholz       12868                                             X
           PSTC -       PSTC packet for transaction numbers
   98      Claiborne    12895 and 12900                                   X
            PSTC -
           Claiborne    PSTC packet for transaction numbers
   99      Scholz       12895 and 12900                                   X
            PSTC -      Email from Dittman to Eldridge dated
           Claiborne    05/16/2011 attaching Certificate Order                      1/17
                                                                                                         Day 4
  100      Abott        dated 05/09/2011                                  X
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EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
            PSTC -
           Claiborne
           S. Sears     PSTC packet for transaction number                                                Day 7
                                                                                    1/23
  101      (wife)       12903                                             X
           PSTC -       PSTC packet for transaction number
  102      Claiborne    12905                                             X
            PSTC -
           Claiborne
           S. Sears     PSTC packet for transaction number
  103      (wife)       12912                                             X
           PSTC -       PSTC packet for transaction number
  104      Claiborne    12913                                             X
                        Email from Jean-Pierre to PSTC cc
           PSTC -       Dittman dated 7/12/2011 with subject
  105      Claiborne    "Guy Jean Pierre"                                 X
            PSTC -
           Claiborne
           S. Sears
           (mom)                                                                                          Day 7
                                                                                    1/23
           S. Sears     PSTC packet for transaction numbers
  106      (wife)       12917 and 12918                                   X
           PSTC -       Emails from Sears to PSTC dated August
           Claiborne    3, 2011 with subject "FSPM Preferred                                              Day 2
                                                                                    1/15
  107      W. Sears     Stock Certificate"                                X
            PSTC -
           Claiborne
           S. Sears     PSTC packet for transaction number                          1/23
                                                                                                          Day 7
  108      (mom)        12924                                             X
            PSTC -
           Claiborne
                                                                                                          Day 7
           S. Sears     PSTC packet for transaction number                          1/23
  109      (mom)        12935                                             X
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EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
            PSTC -
           Claiborne
           R. Dittman
                                                                                                        Day 7
           S. Sears      PSTC packet for transaction number                        1/23
  110      (mom)         12940                                           X
            PSTC -
           Claiborne     PSTC packet for transaction number
                                                                                   1/24                 Day 8
  111      R. Dittman    12945                                           X
                         Email from PSTC to Jean-Pierre dated
           PSTC -        4/5/2012 with subject "FSPM
  112      Claiborne     Information"                                    X
           PSTC -
           Claiborne     PSTC packet for transaction numbers
  113      R. Dittman    12951, 12952, and 12953                         X
           PSTC -
                                                                                   1/18                 Day 5
  114      Claiborne     FedEx Tracking number 800575942347              X

           PSTC -        Email from Sears to Claiborne dated
           Claiborne     7/31/2012 with subject "FSPM Cert"                        1/15                 Day 2
  115      W. Sears      attaching due diligence package                 X

           PSTC -
           Claiborne
                                                                                   1/18                 Day 5
           DiTommaso PSTC packet for transaction number
  116      Abbott    12964                                               X
           PSTC -
                                                                                   1/18                 Day 5
  117      Claiborne FedEx Tracking number 798688446223                  X
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EXHIBIT                                                             ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                         Email from Jean-Pierre to PSTC cc
                         Dittman dated 9/24/2012 with subject
                         "Follow up re 70,000 restricted shares
           PSTC -        issued November 2011" attaching
  118      Claiborne     (unsigned) letter from Dittman to PSTC              X
  119
  120                    Scottsdale documents related to the
                         opening of Microcap account on                               1/22                   Day 6
           Scottsdale    7/13/2012
  121                    Documents provided by
                         Scottsdale/Alpine related to Microcap's
                         deposit of 16,273 shares of                                                         Day 6
                         FusionPharm on approximately                                 1/22
           Scottsdale    8/6/2012
  122                    Documents provided by
                         Scottsdale/Alpine related to Microcap's
                         deposit of 40,000 shares of                                                         Day 6
                                                                                      1/22
                         FusionPharm on approximately
           Scottsdale    8/1/2012                                            X
  123
                         Signed letter from Dittman to Scottsdale                     1/17                   Day 4
                         dated 8/8/2012 relating to stock
           Scottsdale    certificate 11176 for 40,000 shares                 X
  124      W. Sears      Email from Sears to Craig D'Mura at
                                                                                      1/15                   Day 2
           Scottsdale    Scottsdale dated 8/10/2012                          X
  125
                         Scottsdale Account ending in 4611 -
  126      Scottsdale    Opening Documents for Bayside                                1/22                   Day 6
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EXHIBIT                                                           ADM /                        RUL.
NO. /LTR   WITNESS                   DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                         Documents provided by
                         Scottsdale/Alpine related to Bayside's
                         deposit of 140,000 shares of                                                       Day 6
                         FusionPharm on approximately                                1/22
  127      Scottsdale    1/21/2013
  128
  129                    Scottsdale documents related to the
                         opening of Meadpoint account on                             1/22                   Day 6
           Scottsdale    4/11/2013
  130
                         Documents provided by
                         Scottsdale/Alpine related to
                         Meadpoint's deposit of 475,000 shares                                              Day 6
                         of FusionPharm on approximately                             1/22
  131      Scottsdale    4/18/2013
  132

                         Email from Sears to Scottsdale dated
                         8/19/2013 containing two attachments
                                                                                                            Day 2
                         with supporting documentation for
                                                                                     1/15
  133      Scottsdale    Meadpoint's deposit of 500,000 shares             X
                         Documents provided by
                         Scottsdale/Alpine related to
                         Meadpoint's deposit of 500,000 shares                                              Day 6
                                                                                     1/22
                         of FusionPharm on approximately
  134      Scottsdale    8/23/2013

                         Emails between Dittman and Kramer at
                         FINRA from 10/6/2011 through                                1/17                   Day 4
  135      Kramer        11/14/2011 with attachments                       X
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EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                       Emails between Dittman and Kramer at
                       FINRA from 10/5/2011 through                                 1/17                   Day 4
  136      Kramer      11/30/2011                                         X
  137      Kramer      Finra Investigation Timeline
                       Record of Oppenheimer response to
                       FINRA requests and copy of 5 FINRA                                                  Day 6
                                                                                    1/22
  138      Kramer      requests

                       Documents provided by Oppenheimer
                       to FINRA related to account number
                       G51-1429990 held in the name                                 1/23                   Day 7
  139      Kramer      Microcap Management LLC

                       Email from Sears to Jean-Pierre with cc
                       to Scholz dated 04/19/2011 attaching
                       Special Board of Directors Meeting
                       dated 08/20/2007, Dahlman                                                           Day 2
                       Resignation dated 11/15/2010 and Baby
                       Bee Bright Preferred Stock Origin dated
                                                                                    1/15
  140      Scholz      04/15/2011                                         X

                       Email from Sears to Scholz dated
                       10/19/2011 attaching Stock Purchase                                                 Day 2
           Scholz      Agreement dated 05/09/2011 between
                                                                                    1/15
  141      W. Sears    Scholz and Sears                                   X
                       Email from Sears to Scholz dated
                       11/08/2011 attaching Company
           Scholz      Purchase 05/09/2011 and Share                                                       Day 2
                                                                                    1/15
  142      W. Sears    Purchase Agreement 11/02/2011                      X
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EXHIBIT                                                        ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           Scholz      Email from Sears to Scholz dated
           DiTommaso   06/18/2012 attaching M&C Due                                                      Day 2
                                                                                  1/15
  143      W. Sears    Diligence dated 06/18/2012                       X
           Scholz
           S. Sears    Email from Sears to
                                                                                                         Day 2
           (mom)       Casskri1120@aol.com cc Scholz dated
                                                                                  1/15
  144      W. Sears    2/7/2013 with subject "Scottsdale"               X
  145       Scholz     Richard Scholz - Declaration
  146
  147
  148
  149

                       Email from Dittman to Dittman dated
                                                                                  1/16                   Day 3
  150      Abbott      04/21/2011 subject: "Fusion Pharm"               X
                       E-mail from Dittman to Abbott with
                                                                                  1/17                   Day 4
  151      Abbott      subject "evite"                                  X

                       Email from Dittman to Abbott dated                                                Day 6
                                                                                  1/22
  152      Abbott      07/13/2011 subject: "Follow Up"                  X
                       Email from Thaden to Dittman dated
                       08/05/2013 subject "Fwd: conversation
  153      Thaden      follow up"                                       X
                       Email from lldittman22@gmail to
                       Dittman dated 8/6/2013 with subject                                              Day 10
                                                                                  1/28
  154      Thaden      "conversation follow up"                         X

                       Email from Sears to Thaden cc Dittman                      1/15                   Day 2
  155      Thaden      dated 8/13/2013 with subject "FSPM"              X
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EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                       Email from Thaden to Sears cc Dittman
                       dated 8/14/2013 with subject "drafting                      1/15                   Day 2
  156       Thaden     an agreement"                                     X
           W. Sears
           S. Sears    Sandra Sears SEC transcript from
  157      (mom)       testimony on 11/18/2015                           X
           W. Sears
           S. Sears    Check Number 5014 from Bayside to                           1/14                   Day 1
  158      (mom)       Jean-Pierre for $2500                             X
           W. Sears
           S. Sears    Check Number 5047 from Bayside to                           1/14                   Day 1
  159      (mom)       Jean-Pierre for $2500                             X
           W. Sears
           S. Sears    Check Number 5057 from Bayside to                           1/14                   Day 1
  160      (mom)       Jean-Pierre for $500                              X
           W. Sears
           S. Sears    Check Number 5063 from Bayside to                           1/14                   Day 1
  161      (mom)       Jean-Pierre for $3000                             X
           W. Sears
           S. Sears    Check Number 5069 from Bayside to                                                  Day 1
                                                                                   1/14
  162      (mom)       Jean-Pierre for $2500                             X
           W. Sears
           S. Sears    Check Number 5082 from Bayside to                           1/14                   Day 1
  163      (mom)       Jean-Pierre for $500                              X
           W. Sears
           S. Sears    Check Number 5116 from Bayside to                                                  Day 1
                                                                                   1/14
  164      (mom)       Jean-Pierre for $500                              X
           W. Sears
           S. Sears    Check Number 5101 from Bayside to                                                  Day 1
                                                                                   1/14
  165      (mom)       Jean-Pierre for $2500                             X
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EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
           W. Sears
           S. Sears      Check Number 5104 from Bayside to                           1/14                    Day 1
  166      (mom)         Jean-Pierre for $500                               X
                         Email from Dittman to Robert Dittman
                         and Jamey Fader dated 9/17/2012 with                        1/17                    Day 4
  167      R. Dittman    subject "Vertifresh"                               X
                         Email from Kocinski to Sears cc Dittman
           W. Sears      dated 11/21/2011 with subject "Sept                         1/23                   Day 7
  168      Kocinski      30s"                                               X
                         Email from Dittman to Kocinski and
           W. Sears      Sears with cc to Jean-Pierre dated                          1/17                    Day 4
  169      Kocinski      11/23/2011 subject: "RE: Sept 30s"                 X
                         Email from Sears to Dittman and Jean-
                         Pierre with cc to Kocinski dated
           W. Sears      11/28/2011 subject: "FW:Financial                                                   Day 2
                                                                                     1/15
  170      Kocinski      Statements"                                        X

                         Email from Sears to Dittman and Jean-
                         Pierre dated 12/22/2011 attaching
                         Financial Statements FusionPharm 3rd
                         Quarter 2011, Fusion Pharm                                                          Day 2
                         Shareholders Statement dated
           W. Sears      09/30/2011, and Fusion Pharm Financial
                                                                                     1/15
  171      Kocinski      Statement Notes dated 09/30/2011                   X
                         Email from Dittman to Kocinski dated
                         03/28/2012 attaching Fusion Pharm                                                   Day 4
                                                                                     1/17
  172      Kocinski      Financials dated 12/31/2011                        X
                         Email from Sears to Kocinski and
           W. Sears      Dittman dated 3/25/2012 with subject                        1/15                    Day 2
  173      Kocinski      "12/31/12 financials"                              X
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EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                       Email from Sears to Jean-Pierre with cc
           W. Sears    to Kocinski dated 04/03/2012 subject:                          1/15                   Day 2
  174      Kocinski    "FSPM"                                               X
           W. Sears    Email from Sears to Kocinski cc:ing Jean-
                                                                                      1/15                   Day 2
  175      Kocinski    Pierre dated 06/07/2012
           W. Sears    Email from Kocinski to Sears re
                                                                                      1/23                   Day 7
  176      Kocinski    Quarterly Report June 2012                           X

                       Email from Sears to Dittman and Jean-
                       Pierre forwarding email from Kocinski to
                       Jean-Pierre with cc to Sears and Dittman                                              Day 2
           W. Sears    dated 06/07/2012 subject: "FW: FSPM                            1/15
  177      Kocinski    Financial Statements as of 3/31/12"                  X

                       Email from Kocinski to Jean-Pierre with
                       cc to Sears, Dittman, and Bodden dated
                                                                                      1/23                   Day 7
           W. Sears    11/21/2012 subject "Fusion Pharm
  178      Kocinski    Financials for Period Ending 9/30/12"                X

                       Email from Kocinski to Jean-Pierre with
                       cc to Sears and Dittman dated                                                         Day 7
                                                                                     1/23
           W. Sears    03/06/2013 subject "Fusion Pharm
  179      Kocinski    Financials for Period Ending 12/31/12"               X

                     Information and Disclosure Statement                                                    Day 8
                                                                                      1/24
  180      DiTommaso for the Period Ended 06/30/2011                        X
                     Email from Jean-Pierre to DiTommaso
                     dated 12/27/2011 attaching document
                     named
                                                                                      1/24                   Day 8
                     "FSPM_LawFirm_AttorneyLetter_12.27.
  181      DiTommaso 11"                                                    X
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EXHIBIT                                                        ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     Tod DiTommaso invoice submitted to                                                  Day 8
                                                                                 1/24
  182      DiTommaso Jean-Pierre dated 1/15/2012                        X

                     Email from Jean-Pierre to DiTommaso
                     dated 06/11/2012 forwarding
                     confirmation from Kocinski who                                                      Day 8
           DiTommaso prepared FSPM Financial Statements                          1/24
  183      Kocinski  period ended 03/31/2012                            X
                     Email from Jean-Pierre to DiTommaso
                     dated 4/6/2012 attaching document
                     named
                     "FSPM_LawFirm_AttorneyLetter_04.05.                         1/24                    Day 8
  184      DiTommaso 12"                                                X
  185

                     Email from Jean-Pierre to DiTommaso
                     dated 5/1/2012 attaching various
                     documents for the Pawson, Padilla, OTC                      1/24                    Day 8
  186      DiTommaso and For Your Information transaction               X

                     Drafted Attorney Opinion Letter for For                                             Day 8
                                                                                 1/24
  186a     DiTommaso Your Information, Inc                              X

                     Drafted Attorney Opinion Letter for OTC                                             Day 8
                                                                                 1/24
  186b     DiTommaso Market Services                                    X

                     Drafted Attorney Opinion Letter for                                                 Day 8
                                                                                 1/24
  186c     DiTommaso Padilla                                            X

                     Drafted Attorney Opinion Letter for                                                 Day 8
  186d     DiTommaso Pawson                                             X        1/24
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EXHIBIT                                                         ADM /                        RUL.
NO. /LTR   WITNESS                  DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     Signed Officer's Certificate for Pawson,
                     Padilla, OTC Market Services and For                                                 Day 8
                                                                                   1/24
  186e     DiTommaso Your Information transaction                        X

                     Pawson, Padilla, For Your Information                                                Day 8
                                                                                   1/24
  186f     DiTommaso Letters requesting to remove the legend             X

                     OTC Market Services Letters requesting                                               Day 8
                                                                                   1/24
  186g     DiTommaso to remove the legend                                X

                     FusionPharm Stock Certificates 11159,                         1/24                   Day 8
  186h     DiTommaso 11160, 11161, 11162                                 X

                     Email from Jean-Pierre to DiTommaso
                     dated 6/6/2012 attaching four files                                                  Day 8
                                                                                   1/24
  187      DiTommaso related to a Microcap Opinion Letter.               X
                     FSPM Stock Certificate number 11167
                     for 190,000 shares in the name                                1/24                   Day 8
  187a     DiTommaso Microcap Management                                 X

                     Signed FSPM - Microcap Non-Affiliation                                               Day 8
                                                                                   1/24
  187b     DiTommaso Form                                                X
                     FusionPharm Officer's Certificate
                     relating to stock certificat number                                                  Day 8
                                                                                   1/24
  187c     DiTommaso 11167                                               X
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to stock                            1/24                   Day 8
  187d     DiTommaso certificate number 11167                            X
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EXHIBIT                                                      ADM /                        RUL.
NO. /LTR   WITNESS                DESCRIPTION                AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     Email from Jean-Pierre to DiTommaso
                     dated 06/11/2012 forwarding share                          1/24                   Day 8
  188      DiTommaso structure provided by PSTC                       X
                     Email from Jean-Pierre to DiTommaso
                     dated 6/11/12 with subjet "FSPM Pink
                     Sheets Opn Ltr" attaching document
                     named                                                      1/24                   Day 8
                     "FSPM_LawFirm_AttorneyLetter_06.06.
  189      DiTommaso 12"                                              X

                     Email from Jean-Pierre to DiTommaso
                     dated 6/13/2012 with subject "Revised
                     FSPM Pink Sheets Opn Ltr" attaching                        1/24                   Day 8
                     document named
                     "FSPM_LawFirm_AttorneyLetter_06.13.
  190      DiTommaso 12_R"                                            X

                     Email from Jean-Pierre to DiTommaso
                     dated 7/2/2012 with subject "FSPM-
                                                                                1/24                   Day 8
                     MICROCAP OPN LTR" attaching a revised
  191      DiTommaso Microcap Attorney Opinion Letter                 X
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to stock                                                Day 8
                                                                                1/24
  191a     DiTommaso certificate 11167                                X

                     Email from Jean-Pierre to DITommaso
                     dated 7/21/2012 with subject "FSPM                         1/24                   Day 8
  192      DiTommaso Abbott-Microcap Opinion Letter"                  X
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EXHIBIT                                                         ADM /                        RUL.
NO. /LTR   WITNESS                 DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     Packet of documents related to Abbott
                     transaction to include the Debt
                     Settlement Agreement, Officer's                                                      Day 8
                     Certificate, Stock Certificate number                        1/24
  192a     DiTommaso 7385, and Share Purchase Agreement                  X
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to stock                           1/24                    Day 8
  192b     DiTommaso certificate 7385                                    X

                     Email from Jean-Pierre to DiTommaso
                     dated 8/15/2012 with subject "FSPM
                     Pink Sheets Opn Ltr - Period ending June
                                                                                                          Day 8
                     30, 2012" attaching document named                           1/24
                     "FSPM_LawFirm_AttorneyLetter_08.09.
  193      DiTommaso 12"                                                 X

                     FusionPharm Shareholder Report                                                       Day 8
                                                                                  1/24
  193a     DiTommaso through 06/30/12                                    X

                     Signed Officer's Certificate dated                           1/24                    Day 8
  194      DiTommaso 12/07/2012                                          X
                     Email from Jean-Pierre to DiTommaso
                     dated 12/13/2012 with subject "FSPM -
                     Bayside: 144 Debt Conversion Opinion                         1/24                    Day 8
  195      DiTommaso Letter"                                             X

                     Signed Bayside Line of Credit Agreement                      1/24                    Day 8
  195a     DiTommaso dated 5/2/2011                                      X

                     Bayside Non-Affiliation Letter dated                         1/24                    Day 8
  195b     DiTommaso December 6, 2012                                    X
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EXHIBIT                                                          ADM /                        RUL.
NO. /LTR   WITNESS                 DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     Bayside Notice of Conversion for                               1/24                    Day 8
  195c     DiTommaso 140,000 shares of FusionPharm                        X

                       Officer's Certificate dated 12/7/12 for                      1/24                    Day 8
  195d     DiTommaso   140,000 shares of Bayside                          X
                       Drafted Attorney Opinion Letter on
                       blank letterhead relating to 140,000
                       shares of FSPM converted from the                                                    Day 8
                                                                                    1/24
  195e     DiTommaso   Bayside note dated 12/13/2012                      X
                       Email from Jean-Pierre to DiTommaso
                       dated 12/21/2012 with subject "FSPM -
                       Bayside: Final 144 Debt Conversion                          1/24                     Day 8
  196      DiTommaso   Opinion Letter"                                    X
                       Drafted Attorney Opinion Letter on
                       blank letterhead relating to 140,000
                       shares of FSPM converted from the                            1/24                    Day 8
  196a     DiTommaso   Bayside note dated 12/21/2012                      X

                     Email from Jean-Pierre to DiTommaso
                     dated 1/4/2013 with subject "Revised                          1/24                     Day 8
  197      DiTommaso FSPM-Bayside Realty Opinion Letter"                  X
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 140,000
                     shares of FSPM converted from the                              1/24                    Day 8
  197a     DiTommaso Bayside note dated 1/4/2012                          X

                     Letter from Dittman dated 12/05/2012
                     authorizing to close the line of credit                        1/24                    Day 8
  197b     DiTommaso from Bayside Realty Holdings                         X
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EXHIBIT                                                        ADM /                        RUL.
NO. /LTR   WITNESS                  DESCRIPTION                AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     Email from DiTommaso to Claiborne
                     dated 7/26/2012 with subject "FSPM-                                                 Day 8
                     Abbott-Microcap Opn Ltr" attaching the                       1/24
  198      DiTommaso DiTommaso Attorney Opinion Letter                  X

                     Tod DiTommaso invoice submitted to                                                  Day 8
                                                                                  1/24
  199      DiTommaso Jean-Pierre dated 1/15/2013                        X

                     Email from Jean-Pierre to DiTommaso
                     dated 3/4/2013 with subject "FSPM -                                                 Day 8
                     STARCITY OPN LTR" attaching 3                               1/24
  200      DiTommaso documents related to the transaction               X
                     Securities transfer agreement between
                     Bayside Realty Holdings and Starcity                         1/24                   Day 8
  200a     DiTommaso Capital                                            X

                     Starcity Capital - Notice of Conversion                      1/24                   Day 8
  200b     DiTommaso dated 2/27/2013                                    X
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 137,500
                                                                                                         Day 8
                     shares of FSPM Starcity Capital                              1/24
  200c     DiTommaso converted from the Bayside note                    X

                     Email from Jean-Pierre to DiTommaso
                     dated 3/4/2013 with subject "FSPM -
                                                                                  1/24                   Day 8
                     VERA GROUP OPN LTR" attaching 3
  201      DiTommaso documents related to the transaction               X
                     Securities transfer agreement between
                     Bayside Realty Holdings and VERA                                                    Day 8
                                                                                  1/24
  201a     DiTommaso GROUP                                              X
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EXHIBIT                                                        ADM /                        RUL.
NO. /LTR   WITNESS                DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     Vera Group - Notice of Conversion                                                    Day 8
  201b     DiTommaso dated 2/27/2013                                    X         1/24
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 12,500
                                                                                                          Day 8
                     shares of FSPM Vera Group converted                          1/24
  201c     DiTommaso from the Bayside note                              X

                     Email from Jean-Pierre to DiTommaso
                     dated 3/4/2013 with subject "FSPM - A.                                               Day 8
                     Mauriello Debt Conversion" attaching 3                       1/24
  202      DiTommaso documents related to the transaction               X
                     Securities transfer agreement between
                     Bayside Realty Holdings and Alexandra                                                Day 8
                                                                                  1/24
  202a     DiTommaso Mauriello                                          X

                     Alexandra Mauriello - Notice of                                                      Day 8
  202b     DiTommaso Conversion dated 2/27/2013                         X         1/24
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 25,000
                     shares of FSPM Mauriello converted                                                   Day 8
                                                                                  1/24
  202c     DiTommaso from the Bayside note                              X

                     Email from Jean-Pierre to DiTommaso
                     dated 3/4/2013 with subject "FSPM -                                                  Day 8
                     Black Arch Debt Conversion" attaching 4                      1/24
  203      DiTommaso documents related to the transaction               X
                     Securities transfer agreement between
                     Bayside Reality Holdings and Black Arch                                              Day 8
                                                                                  1/24
  203a     DiTommaso Opportunity Fund LP                                X
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EXHIBIT                                                         ADM /                        RUL.
NO. /LTR   WITNESS                 DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     Black Arch Opportunity Fund LP - Notice                                              Day 8
                                                                                   1/24
  203b     DiTommaso of Conversion dated 2/27/2013                       X
                     FusionPharm Officer's Certificate dated
                     2/28/2013 relating to the sale of the                                                Day 8
                                                                                   1/24
  203c     DiTommaso Bayside Note                                        X
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 12,500
                     shares of FSPM Black Arch Opportunity                                                Day 8
                     Fund LP converted from the Bayside                            1/24
  203d     DiTommaso note                                                X

                     Email from Rob Hoffman to DiTommaso
                                                                                                           Day 8
                     dated 3/4/2013 with subject FSPM-Roy                          1/24
  204      DiTommaso Legend Removal Opinion Letter                       X

                     Email from Jean-Pierre to DiTommaso
                                                                                                           Day 8
                     dated 3/4/2013 with subject "FSPM Pink
                     Sheets Attorney Letter for period ending
                                                                                   1/24
  205      DiTommaso 12.31.12"                                           X
                     Blank FusionPharm Officer and Directors
                     Questionnaire for period ended                                                       Day 8
                                                                                   1/24
  205a     DiTommaso December 31, 2012                                   X

                     FusionPharm Shareholder Report                                                       Day 8
                                                                                   1/24
  205b     DiTommaso through 02/26/2013                                  X

                     Email from Jean-Pierre to DiTommaso
                                                                                                          Day 8
                     dated 3/5/2013 with subject "FSPM-SGI                         1/24
  206      DiTommaso Group Debt Conversion"                              X
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EXHIBIT                                                        ADM /                        RUL.
NO. /LTR   WITNESS                 DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                     Securities transfer agreement between
                     Bayside Reality Holdings and SGI Group,                                             Day 8
                                                                                  1/24
  206a     DiTommaso LLC                                                X

                     SGI Group LLC - Notice of Conversion                                                Day 8
  206b     DiTommaso dated 2/27/2013                                    X        1/24
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 12,500
                     shares of SGI Group converted from the                                              Day 8
                                                                                  1/24
  206c     DiTommaso Bayside note                                       X

                     Email from Jean-Pierre to DiTommaso
                     dated 3/6/2013 with subject "Re: FSPM
                     OTC Markets Opn Ltr" attaching                                                      Day 8
                     document named
                     "FSPM_LawFirm_AttorneyLetter_03.06.                          1/24
  207      DiTommaso 13_R"                                              X

                     Email from Jean-Pierre to DiTommaso
                     dated 3/11/2013 with subject "package -                                             Day 8
                                                                                  1/24
  208      DiTommaso Dave Roy - FusionPharm"                            X
                     Email from Jean-Pierre to DITomasso
                     dated 3/12/2013 with subject "FSPM-
                     Black Additional Revised Opinion                                                    Day 8
                     Letter(s) attaching 4 drafted Attorney
                                                                                  1/24
  209      DiTommaso Opinion Letters                                    X
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 25,000
                     shares of FSPM Mauriello converted                           1/25                   Day 9
  209a     DiTommaso from the Bayside note                              X
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EXHIBIT                                                      ADM /                        RUL.
NO. /LTR   WITNESS                DESCRIPTION                AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 12,500
                     shares of FSPM SGI Group converted                         1/25                  Day 9
  209b     DiTommaso from the Bayside note                            X
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 137,500
                                                                                1/25                  Day 9
                     shares of FSPM Starcity Capital
  209c     DiTommaso converted from the Bayside note                  X
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 12,500
                     shares of FSPM Vera Group converted                        1/25                  Day 9
  209d     DiTommaso from the Bayside note                            X

                     Email from Jean-Pierre to DiTommaso
                     dated 3/12/2013 with subject "FSPM-                                              Day 9
                     Black Arch Debt Conversion Revised
                     Letter" attaching 2 documents related                      1/25
  210      DiTommaso to the transaction                               X

                     Letter dated 3/8/13 to DiBella from                                              Day 9
                                                                                1/25
  210a     DiTommaso Dittman                                          X
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 12,500
                     shares of FSPM Black Arch Opportunity
                                                                                                      Day 9
                     Fund LP converted from the Bayside                         1/25
  210b     DiTommaso note                                             X

                     Email from Jean-Pierre to DiTommaso
                     dated 3/30/13 with subject "FSPM-                          1/25                  Day 9
  211      DiTommaso Meadpoint Opinion"                               X
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EXHIBIT                                                          ADM /                        RUL.
NO. /LTR   WITNESS                 DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                     Packet of documents related to
                     conversion of 475,000 shares from the
                     Meadpoint note to include the Officer's
                     Certificate, the Meadpoint Note, the
                     letter from Dittman to PSTC, and the                                                   Day 9
                     Written Consent of the Board of                                1/25
  211a     DiTommaso Directors                                            X
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 475,000
                     shares of FSPM converted from the                                                      Day 9
                                                                                    1/25
  211b     DiTommaso Meadpoint note dated 03/31/2013                      X

                     Email from Jean-Pierre to DiTommaso
                     dated 8/22/2013 with subject "FSPM:                                                    Day 8
                                                                                    1/24
  212      DiTommaso Pink Sheets Letter - 06-30-13 Financials"            X

                     FusionPharm Shareholder Report                                                         Day 8
                                                                                    1/24
  212a     DiTommaso through 06/03/2013                                   X
                     FusionPharm Officer and Directors
                     Questionnaire for period ended June 30,                                                Day 8
                                                                                    1/24
  212b     DiTommaso 2013                                                 X

                     OTC Markets DiTommaso Opinion Letter                           1/24                    Day 8
  213      DiTommaso dated 08/22/2013 (PDF)                               X

                     Email from Sears to Dittman dated
                     08/30/2013 attaching the signature                                                     Day 8
                     page for Scholz and Thayden's Attorney                         1/24
  214      DiTommaso Opinion Letter from Tod DiTommaso                    X
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EXHIBIT                                                       ADM /                        RUL.
NO. /LTR    WITNESS               DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     Email from Jean-Pierre to DiTommaso
                     dated 8/26/2013 with subject "FSPM:
                                                                                                        Day 8
                     Opinion letter request" attaching 4                         1/24
  215      DiTommaso documents related to the transaction              X

                     Due Diligence Documents related to the                      1/24                   Day 8
  215a     DiTommaso transfer to Scholz                                X

                     Due Diligence Documents related to the                      1/24
                                                                                                        Day 8
  215b     DiTommaso transfer to Myron Thaden                          X

                     Due Diligence Documents related to the                      1/24                   Day 8
  215c     DiTommaso transfer to Sharryn Thaden                        X
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to the
                     conversion of the Meadpoint note for
                                                                                                        Day 8
                     shareholders Myron and Sharryn                              1/24
  215d     DiTommaso Thaden and Scholz                                 X

                     Tod DiTommaso invoice submitted to                                                 Day 8
                                                                                 1/24
  216      DiTommaso Jean-Pierre dated 9/15/2013                       X

           DiTommaso OTC Attorney Letter Agreements -                            1/24                   Day 8
  217      OTC       DiTommaso                                         X
                     FusionPharm Current Information
                     Letters Reviewed and Verified by                                                   Day 8
                                                                                1/24
  218      DiTommaso DiTommaso                                         X

                     FusionPharm Attorney Opinion Letters                       1/24
                                                                                                        Day 8
  219      DiTommaso Reviewed and Verified by DiTommaso                X
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EXHIBIT                                                        ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                                                                                                        Day 8
                                                                                  1/24
  220      DiTommaso DiTommaso Invoices sent to Jean-Pierre             X
  221
  222
  223
  224
                       Andrew Duke's sketch of the
                       FusionPharm Office located on
                                                                                  1/23                  Day 7
  225      Duke        Wynkoop Street                                   X
                       Email from Sears to Dittman dated
           W. Sears    09/28/2011 subject: "FW: Reservation                                             Day 1
                                                                                  1/14
  226      Duke        Confirmation"                                    X
                       Email from Dittman to Duke and Sears
           W. Sears    dated 10/12/2011 with subject
                                                                                  1/23                  Day 7
  227      Duke        "business plan update"                           X
                       Email from Duke to Dittman, Sears and
           W. Sears    Frank Falconer dated 10/20/2011 with                       1/23                  Day 7
  228      Duke        subject "retreat"                                X
           W. Sears    Email from Sears to Duke dated
                                                                                  1/14                  Day 1
  229      Duke        3/23/2012 with subject "Status"                  X
                       Email from Dittman to Duke dated
                                                                                  1/17                  Day 4
  230      Duke        4/17/2012 with subject "Debt"                    X
  231
  232
  233
  234
                       Email from Sears to Bodden cc Dittman
           W. Sears    dated 3/10/2011 with subject "Fusion                       1/14                  Day 1
  235      Bodden      Pharm"                                           X
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EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                       Email from Sears to Bodden dated
           W. Sears    03/14/2011 attaching Affidavit of Cliff                                            Day 8
                                                                                   1/24
  236      Bodden      Bodden 03/14/2011                                  X
                       Email from Jean-Pierre to Bodden with
           W. Sears    cc to Sears dated 03/14/2011 subject:                       1/24                   Day 8
  237      Bodden      "RE: Affidavit"                                    X

                       Email from Sears to Bodden dated
                       03/28/2011 forwarding email from Jean-
                                                                                                          Day 1
                       Pierre to Sears attachinhg Baby Bee                         1/14
           W. Sears    Bright Articles of Incorporation and
  238      Bodden      Baby Bee Bright Supporting Documents               X
                       Email from Bodden to Malino with cc to
                       Sears dated 03/24/2012 attaching
                       FusionPharm 2-Page Summary and
           W. Sears    FusionPharm Private Investor                                1/24                   Day 8
  239      Bodden      Presentation                                       X
                       Email from Bodden to Dittman and
                       Sears dated 03/31/2012 attaching
                       Annual Information and Disclosure
                       Statement dated 12/31/2011 and
                       Annual Information and Disclosure                                                  Day 8
           W. Sears    Statement dated 12/31/2011 Revision                         1/24
  240      Bodden      from 03/31/2012                                    X
  241
                       Email from Bodden to Malino cc
                       Dittman and Sears dated 4/4/2012 with
           W. Sears    subject "Pro Forma Financial                                1/24                   Day 8
  242      Bodden      Projections"                                       X
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EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                       Email from Bodden to Dittman with cc
                       to Sears dated 05/25/2012 attaching
           W. Sears    Financial Statements dated 03/2012 and                     1/24                    Day 8
  243      Bodden      03/2011                                           X

                       Email from Bodden to Jean-Pierre dated                                             Day 8
  244      Bodden      05/30/2012 subject: "RE: Meeting"                 X        1/24


                       Email from Sears to Dittman forwarding
                       email from Bodden to Sears dated                                                   Day 2
           W. Sears    06/04/2012 attaching Promissory Note
  245      Bodden      and Credit Line Agreement Draft                   X        1/15
                       Email from Bodden to Sears dated
           W. Sears    06/06/2012 attaching Bayside Loan                          1/24                    Day 8
  246      Bodden      Documents (8 attachments)                         X
                       Email from Bodden to Sears dated
           W. Sears    06/06/2012 attaching MeadPoint Loan                        1/24                    Day 8
  247      Bodden      Documents (5 attachments)                         X
  248

                       Email from Sears to Bodden dated
                       06/12/2012 forwarding email from Jean-                                             Day 2
           W. Sears    Pierre to Sears dated 06/11/2012                           1/15
  249      Bodden      subject: "FSPM - OTC Markets Opn Ltr"             X
                       Email from Bodden to Sears with cc to
                       Dittman and Jean-Pierre dated
                                                                                                          Day 8
           W. Sears    06/13/2012 subject: "Capitoline Due                        1/24
  250      Bodden      Diligence"                                        X
                       Email from Bodden to Sears with cc to
           W. Sears    Dittman dated 06/15/2012 subject:                                                  Day 8
                                                                                  1/24
  251      Bodden      "Due Diligence Items"                             X
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EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                       Email from Sears to Bodden dated
           W. Sears    06/17/2012 forwarding email from Jean-                                             Day 2
                                                                                   1/15
  252      Bodden      Pierre to Bodden subject: "RE: FSPM"              X
                       Email from Bodden to Jean-Pierre and
                       Sears dated 06/18/2012 attaching
                                                                                                          Day 8
           W. Sears    Fusion Pharm 504 Offering Documents                         1/24
  253      Bodden      dated 06/2012                                     X
           W. Sears    Email from Sears to Bodden dated                                                   Day 1
                                                                                   1/14
  254      Bodden      6/19/2012 with blank subject                      X

                       Email from Bodden to Dittman with cc
                       to Jean-Pierre and Sears dated
                                                                                                          Day 8
           W. Sears    06/20/2012 attaching Capitoline Due                         1/24
  255      Bodden      Diligence Package (14 attachments)                X
                       Email from Bodden to Nick Malino with
                       cc to Sears and Barbarosh dated
                                                                                   1/24                   Day 8
           W. Sears    06/20/2012 attaching the Due Diligence
  256      Bodden      Package (14 attachments)                          X
           W. Sears    Email from Bodden to Sears dated
                                                                                   1/24                   Day 8
  257      Bodden      8/5/2012 with subject "Deposits"                  X
                       Email from Sears to Bodden and Jean-
                       Pierre dated 08/07/2012 forwarding
                       email from Amanda Martin to Sears
                       attaching Fusion Pharm Inc.                                                        Day 2
           W. Sears    Shareholders Report Common dated
                                                                                   1/15
  258      Bodden      06/30/2012                                        X
                       Email from Bodden to Dittman with cc
                       to Jean-Pierre and Sears dated
           W. Sears    08/08/2012 attaching Quarterly                                                     Day 8
                                                                                   1/24
  259      Bodden      Financials (6 attachments)                        X
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EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                       Email from Kocinski to Jean-Pierre with
           W. Sears    cc to Sears, Dittman, and Bodden dated
           Bodden      08/14/2012 subject: "Fusion Pharm                              1/24                  Day 8
  260      Kocinski    Financials for Period Ending 06/30/12"               X
  261
                       Email from Bodden to Dittman and
           W. Sears    Sears with cc to Kocinsky and Jean-
                                                                                      1/23                  Day 7
           Bodden      Pierre dated 11/04/2012 attaching
  262      Kocinski    Quarterly Report 09/30/2012                          X

                       Email from Dittman to Bodden and
           W. Sears    Sears with cc to Kocinski and Jean-Pierre
                                                                                                            Day 4
           Bodden      dated 11/15/2012 subject "Quarterly                            1/17
  263      Kocinski    Report - September 2012"                             X
  264

                       Email from Bodden to Sears dated
                       11/26/2012 attaching Bayside
           W. Sears    Convertible Promissory Note and                                1/24                  Day 8
  265      Bodden      MeadPoint Convertible Promissory Note                X
                       Email from Bodden to Dittman dated
                       12/27/2012 attaching a Letter of                               1/24                  Day 8
  266      Bodden      Authorization dated 12/05/2011                       X
  267

                       Email from Sears to Bodden dated
                       12/27/2012 forwarding email chain                                                    Day 2
           W. Sears    between Jean-Pierre, Sears and DiBella                         1/15
  268      Bodden      subject: "Fwd: Convertible Note"                     X
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EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                       Email from Sears to Bodden dated
           W. Sears    12/27/2012 with subject "Convertible                                                Day 2
  269      Bodden      note"                                              X         1/15


                       Email from Bodden to Sears dated                                                    Day 2
           W. Sears    12/27/2012 attaching Sandra Sears
                                                                                    1/15
  270      Bodden      Letter of Resignation dated 05/02/2011             X

                       Email from Sears to Jean-Pierre and
                       Bodden dated 12/27/2012 forwarding                                                  Day 2
           W. Sears    email from DiBella to Sears and Dittman
                                                                                    1/15
  271      Bodden      subject: "Fwd: missing docs"                       X

                       Email from Sears to Bodden cc Jean-                                                 Day 2
           W. Sears    Pierre and Dittman dated 12/27/2012
  272      Bodden      with subject Convertible Note                      X         1/15

                       Email from Bodden to Jean-Pierre with
                       cc to Sears dated 12/28/2012 attaching
                                                                                                           Day 8
           W. Sears    Drawdown Requests and Proof of                               1/24
  273      Bodden      Receipt documents (6 attachments)                  X
                       Email from Sears to Dittman dated
                       1/23/2013 with subject FSPM-Bayside-                                                Day 2
           W. Sears    Starcity STA 1-23-2013 not signed v1-
                                                                                    1/15
  274      Bodden      3GJP                                               X
                       Email from Bodden to Sears and
           W. Sears    Dittman dated 1/31/2013 with blank
           Bodden      subject attaching FSPM-Bayside-Starcity                      1/24                   Day 8
  275      Coleson     STA.                                               X
  276
  277
  278
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EXHIBIT                                                          ADM /                        RUL.
NO. /LTR   WITNESS                DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
  279

  280      Scoufis    FusionPharm Corporate Action Calendar
                      Summary Chart - Pre-FusionPharm
                      Converted Preferred Stock Analysis as of
  281      Scoufis    2/28/11                                             X
                      Summary Chart - Pre-FusionPharm
                      Converted Preferred Stock Analysis as of
  282      Scoufis    3/1/11                                              X
                      Summary Chart - Pre-FusionPharm
                      Converted Preferred Stock Analysis as of
  283      Scoufis    3/16/11                                             X
                      Summary Chart - FusionPharm Common
                      Stock with Converted Preferred Stock as                                               Day 9
  284      Scoufis    of 6/30/2011                                        X         1/25
                      Summary Chart - FusionPharm Common
                      Stock with Converted Preferred Stock as
  285      Scoufis    of 11/30/2011                                       X
                      Summary Chart - FusionPharm Common
                      Stock with Converted Preferred Stock as                                               Day 9
                                                                                    1/25
  286      Scoufis    of 12/31/2011                                       X

                      Summary Chart - FusionPharm Common
                      Stock with Converted Bayside and                                                      Day 9
                                                                                    1/25
  287      Scoufis    Meadpoint Notes as of 12/31/2012                    X
                      Summary Chart - FusionPharm Common
                      Stock with Converted Preferred Stock as                       1/25                    Day 9
  288      Scoufis    of 06/30/2013                                       X
                      Summary Chart - FusionPharm
                      Oustanding Common Stock as of                                                         Day 9
  289      Scoufis    09/3/2013                                           X         1/25
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EXHIBIT                                                         ADM /                        RUL.
NO. /LTR   WITNESS                DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                      Summary chart - Price and Volume
                      Analysis with Selected Accounts -
                                                                                   1/25                  Day 9
  290      Scoufis    3/31/2011-6/29/2011                                X
                      Summary chart - Price and Volume
                      Analysis with Selected Accounts -                                                  Day 6
                                                                                   1/22
  291      Scoufis    3/25/2011-7/16/2013                                X
                      Summary chart - Price and Volume
                      Analysis with Selected Accounts -                            1/25                  Day 9
  292      Scoufis    3/25/2011-5/15/2014                                X
                      Summary chart - Price and Volume
                      Analysis with Selected Accounts -
  293      Scoufis    3/25/2011-12/31/2013                               X
                      Summary Chart - FusionPharm Share
                      Flowcharts for Abbott Transaction -                          1/25                  Day 9
  294      Scoufis    8/1/2012
                      Summary Chart - FusionPharm Share
                      Flowcharts for Bayside Stock Issuance -
                                                                                   1/25                  Day 9
  295      Scoufis    1/18/2013

                      Summary Chart - FusionPharm Share
                      Flowcharts for Sale of Convertible                                                 Day 9
                                                                                   1/25
  296      Scoufis    Promissory Note - 3/14/2013
                      Summary Chart - FusionPharm Share
                      Flowcharts for Meadpoint Stock                               1/25                  Day 9
  297      Scoufis    Issuance - 4/12/2013
                      Summary Chart - FusionPharm Share
                      Flowcharts for Meadpoint Stock                               1/25                  Day 9
  298      Scoufis    Issuance - 8/15/2013
                      Summary Chart - FusionPharm Share
                      Flowcharts Scholz and Thaden Stock                           1/25                  Day 9
  299      Scoufis    Issuance - 9/3/2013
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EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                       Summary Chart - FusionPharm Trading
                                                                                    1/25                   Day 9
  300      Scoufis     Summary                                            X
                       Summary Chart - FusionPharm Rule 144
                                                                                    1/25                   Day 9
  301      Scoufis     Affiliate Volume Calculations
                       Summary Chart - FusionPharm Common
                       Stock with Converted Preferred Stock as
  302      Scoufis     of 12/31/2012
                       Summary Chart - FusionPharm Wire
  303      Scoufis     Transfers                                          X         1/25                   Day 9
                       Summary Chart - FusionPharm Wire
  304      Scoufis     Transfers Flowchart                                X
  305
  306
  307
  308
           FBI -       Summary Chart - Payments to Guy Jean-                        1/28
  309      Newton      Pierre from 2011 to 2013                           X                                Day 10


           FBI -       Summary Chart - Guy Jean-Pierre                                                     Day 10
                                                                                    1/28
  310      Newton      Google Voice Records - (305)929-3652               X
                       Summary Chart - Tod DiTommaso
           FBI -       Invoices to Jean-Pierre and Payments                         1/28                   Day 10
  311      Newton      from Jean-Pierre                                   X
                       Summary Chart - Tod DiTommaso
           FBI -       Verizon Wireless Records - (323)497-                                                Day 10
                                                                                    1/28
  312      Newton      1418                                               X

           FBI -       Summary Chart - Fusion Pharm Stock                                                  Day 10
                                                                                   1/28
  313      Newton      Sale Proceeds 2011 through 2013                    X
                       Summary Chart - Check Signers on
           FBI -       FusionPharm Wells Fargo Account                                                     Day 10
                                                                                    1/28
  314      Newton      #0090                                              X
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EXHIBIT                                                       ADM /                        RUL.
NO. /LTR    WITNESS               DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           FBI -       Summary Chart - FusionPharm Related                       1/28                 Day 10
  315      Newton      Expenses paid from Other Accounts               X
           FBI -       Summary Chart - FusionPharm Revenue
                                                                                 1/28                 Day 10
  316      Newton      versus Cash Receipts                            X
           FBI -       Summary Chart - Analysis of Proof of
  317      Newton      Funding for Notes                               X
  318
  319
  320
           W. Sears
           Agent -     2016-02-26 Recorded Phone Call                                                  Day 3
                                                                                 1/16
  320a     Erwin       between Sears and GJP
           W. Sears
           Agent -     2016-03-03 Recorded Phone Call                                                  Day 3
           Erwin       between Sears and GJP                                     1/16
  320b
           W. Sears
           Agent -     2016-03-24 Recorded Phone Call                            1/16                  Day 3
  320c     Erwin       between Sears and GJP
           W. Sears
           Agent -     2016-03-30 Recorded Phone Call                            1/16                  Day 3
  320d     Erwin       between Sears and GJP
           W. Sears
           Agent -     2016-04-04 Recorded Phone Call                            1/16                  Day 3
  320e     Erwin       between Sears and GJP
           W. Sears
           Agent -     2016-04-06 Recorded Phone Call                            1/16                  Day 3
  320f     Erwin       between Sears and GJP
           W. Sears
           Agent -     2016-04-17 Recorded Phone Call                            1/16                  Day 3
  320g     Erwin       between Sears and GJP
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EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
           W. Sears
           Agent -     2016-04-22 (Call #1) Recorded Phone                         1/16                 Day 3
  320h     Erwin       Call between Sears and GJP
           W. Sears
           Agent -     2016-04-22 (Call #2) Recorded Phone                                              Day 3
                                                                                   1/16
  320i     Erwin       Call between Sears and GJP
           W. Sears
           Agent -     2016-04-22 (Call #3) Recorded Phone                         1/16                 Day 3
  320j     Erwin       Call between Sears and GJP
           W. Sears
           Agent -     2016-04-23 Recorded Phone Call                                                   Day 3
                                                                                   1/16
  320k     Erwin       between Sears and GJP
           W. Sears
           Agent -     2016-04-25 Recorded Phone Call                              1/16                 Day 3
  320l     Erwin       between Sears and GJP
           W. Sears
           Agent -     2016-04-26 Recorded Phone Call                              1/16                 Day 3
 320m      Erwin       between Sears and GJP
  321
                       Transcript - 2016-02-26 Recorded Phone
           Agent -     Call between William Sears and Guy
  321a     Erwin       Jean-Pierre
                       Transcript - 2016-03-03 Recorded Phone
                       Call between William Sears and Guy
  321b     Agent-Erwin Jean-Pierre
                       Transcript - 2016-03-24 Recorded Phone
                       Call between William Sears and Guy
  321c     Agent-Erwin Jean-Pierre
                       Transcript - 2016-03-30 Recorded Phone
                       Call between William Sears and Guy
  321d     Agent-Erwin Jean-Pierre
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EXHIBIT                                                           ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                         Transcript - 2016-04-04 Recorded Phone
                         Call between William Sears and Guy
  321e     Agent-Erwin   Jean-Pierre
                         Transcript - 2016-04-06 Recorded Phone
                         Call between William Sears and Guy
  321f     Agent-Erwin   Jean-Pierre
                         Transcript - 2016-04-17 Recorded Phone
                         Call between William Sears and Guy
  321g     Agent-Erwin   Jean-Pierre
                         Transcript - 2016-04-22 (#1) Recorded
                         Phone Call between William Sears and
  321h     Agent-Erwin   Guy Jean-Pierre
                         Transcript - 2016-04-22 (#2) Recorded
                         Phone Call between William Sears and
  321i     Agent-Erwin   Guy Jean-Pierre
                         Transcript - 2016-04-22 (#3) Recorded
                         Phone Call between William Sears and
  321j     Agent-Erwin   Guy Jean-Pierre
                         Transcript - 2016-04-23 Recorded Phone
                         Call between William Sears and Guy
  321k     Agent-Erwin   Jean-Pierre
                         Transcript - 2016-04-25 Recorded Phone
                         Call between William Sears and Guy
  321l     Agent-Erwin   Jean-Pierre
                         Transcript - 2016-04-26 Recorded Phone
                         Call between William Sears and Guy
 321m      Agent-Erwin   Jean-Pierre
  322
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EXHIBIT                                                       ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.


           W. Sears    2016-02-26 Recorded Phone Call
                                                                                 1/16                     Day 3
           Agent- Funk between Sears and GJP - Synced Audio
  322a     Agent-Erwin & Transcript


           W. Sears    2016-03-03 Recorded Phone Call
                                                                                 1/16                     Day 3
           Agent- Funk between Sears and GJP - Synced Audio
  322b     Agent-Erwin & Transcript


           W. Sears    2016-03-24 (Excerpt #1) Recorded
           Agent- Funk Phone Call between Sears and GJP -                        1/16                     Day 3
  322c     Agent-Erwin Synced Audio & Transcript


           W. Sears    2016-03-24 (Excerpt #2) Recorded                                                   Day 3
           Agent- Funk Phone Call between Sears and GJP -                        1/16
  322d     Agent-Erwin Synced Audio & Transcript


           W. Sears    2016-03-30 Recorded Phone Call                                                     Day 3
                                                                                 1/16
           Agent- Funk between Sears and GJP - Synced Audio
  322e     Agent-Erwin & Transcript


           W. Sears    2016-04-04 Recorded Phone Call
                                                                                 1/16                     Day 3
           Agent- Funk between Sears and GJP - Synced Audio
  322f     Agent-Erwin & Transcript
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EXHIBIT                                                        ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.


           W. Sears    2016-04-06 Recorded Phone Call
                                                                                                     Day 3
           Agent- Funk between Sears and GJP - Synced Audio                      1/16
  322g     Agent-Erwin & Transcript


           W. Sears    2016-04-17 Recorded Phone Call                                                Day 3
           Agent- Funk between Sears and GJP - Synced Audio                      1/16
  322h     Agent-Erwin & Transcript


           W. Sears    2016-04-22 (Call #1) Recorded Phone                                           Day 3
                                                                                 1/16
           Agent- Funk Call between Sears and GJP - Synced
  322i     Agent-Erwin Audio & Transcript


           W. Sears    2016-04-22 (Call #2 - Excerpt #1)                                             Day 3
                                                                                 1/16
           Agent- Funk Recorded Phone Call between Sears and
  322j     Agent-Erwin GJP - Synced Audio & Transcript


           W. Sears    2016-04-22 (Call #2 - Excerpt #2)                                             Day 3
           Agent- Funk Recorded Phone Call between Sears and                     1/16
  322k     Agent-Erwin GJP - Synced Audio & Transcript


           W. Sears    2016-04-22 (Call #3) Recorded Phone                       1/16                Day 3
           Agent- Funk Call between Sears and GJP - Synced
  322l     Agent-Erwin Audio & Transcript
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EXHIBIT                                                       ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.


           W. Sears    2016-04-23 Recorded Phone Call                                                 Day 3
           Agent- Funk between Sears and GJP - Synced Audio                      1/16
 322m      Agent-Erwin & Transcript


                                                                                                      Day 3
           W. Sears    2016-04-25 (Excerpt #1) Recorded
           Agent- Funk Phone Call between Sears and GJP -                        1/16
  322n     Agent-Erwin Synced Audio & Transcript


           W. Sears    2016-04-25 (Excerpt #2) Recorded
                                                                                 1/16                 Day 3
           Agent- Funk Phone Call between Sears and GJP -
  322o     Agent-Erwin Synced Audio & Transcript


           W. Sears    2016-04-25 (Excerpt #3) Recorded                          1/16                 Day 3
           Agent- Funk Phone Call between Sears and GJP -
  322p     Agent-Erwin Synced Audio & Transcript


           W. Sears    2016-04-25 (Excerpt #4) Recorded                                               Day 3
                                                                                 1/16
           Agent- Funk Phone Call between Sears and GJP -
  322q     Agent-Erwin Synced Audio & Transcript


           W. Sears    2016-04-26 Recorded Phone Call                            1/16                 Day 3
           Agent- Funk between Sears and GJP - Synced Audio
  322r     Agent-Erwin & Transcript
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EXHIBIT                                                       ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears
           Agent- Funk Emails exchanged between Sears and
           Agent -     Jean-Pierre between 3/2/2016 and                          1/28                   Day 10
  323      Erwin       4/26/2016                                       X

           W. Sears
           Agent- Funk Email attachment from Sears titled
           Agent -     "VertiFresh Business Plan 2012-2015                                              Day 10
                                                                                 1/28
  324      Erwin       CO.docx                                         X

           W. Sears
           Agent- Funk Email attachment from Jean-Pierre
                                                                                                        Day 10
           Agent -     titled "CMC-Vert Consult                                  1/28
  325      Erwin       AGR_04_15_16.doc"                               X

           W. Sears
           Agent- Funk
                                                                                                        Day 10
           Agent -     Email attachment from Jean-Pierre                         1/28
  326      Erwin       titled "VERT_conv_note_02_28_15.doc"            X

           W. Sears
           Agent- Funk Email attachment from Jean-Pierre
                                                                                 1/28                   Day 10
           Agent -     titled "VERT_conv_note_02_28_15.doc"
  327      Erwin       dated 4/21/2015                                 X

           W. Sears
           Agent- Funk
                                                                                 1/28                   Day 10
           Agent -     Email attachment from Jean-Pierre
  328      Erwin       titled "Non-Aff LTR.docx"                       X
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EXHIBIT                                                    ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION             AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears
           Agent- Funk Email attachment from Jean-Pierre
                                                                              1/28                  Day 10
           Agent -     titled "Purchase and Assignment
  329      Erwin       Agreement_THORE.doc"                         X

           W. Sears
           Agent- Funk Email attachment from Jean‐Pierre
                                                                              1/28                  Day 10
           Agent -     titled "Form of Debt Conversion
  330      Erwin       Opinion.docx"                                X
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EXHIBIT                                                           ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears
           Agent Varel DVD-Audio Recording - 2016-04-28
           Agent -     Recording of William Sears and Guy Jean-                                         Day 3
                                                                                     1/16
  350      Erwin       Pierre travel from MIA Airport to Hotel
  351

           W. Sears
           Agent Varel 2016-04-28 (Excerpt #1) Recording of
           Agent -     Sears and GJP travel from MIA to Hotel -                      1/16               Day 3
  351a     Erwin       Synced Audio & Transcript

           W. Sears
           Agent Varel 2016-04-28 (Excerpt #2) Recording of
           Agent -     Sears and GJP travel from MIA to Hotel -                      1/16               Day 3
  351b     Erwin       Synced Audio & Transcript

           W. Sears
           Agent Varel 2016-04-28 (Excerpt #3) Recording of
                                                                                                        Day 3
           Agent -     Sears and GJP travel from MIA to Hotel -
                                                                                     1/16
  351c     Erwin       Synced Audio & Transcript

           W. Sears
           Agent Varel 2016-04-28 (Excerpt #4) Recording of
                                                                                                        Day 3
           Agent -     Sears and GJP travel from MIA to Hotel -                      1/16
  351d     Erwin       Synced Audio & Transcript

           W. Sears
           Agent Varel 2016-04-28 (Excerpt #5) Recording of                          1/16               Day 3
           Agent -     Sears and GJP travel from MIA to Hotel -
  351e     Erwin       Synced Audio & Transcript
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EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears
           Agent Varel 2016-04-28 (Excerpt #6) Recording of
                                                                                      1/16                Day 3
           Agent -     Sears and GJP travel from MIA to Hotel -
  351f     Erwin       Synced Audio & Transcript

           W. Sears
           Agent Varel 2016-04-28 (Excerpt #7) Recording of
                                                                                      1/16                Day 3
           Agent -     Sears and GJP travel from MIA to Hotel -
  351g     Erwin       Synced Audio & Transcript

           W. Sears
           Agent Varel 2016-04-28 (Excerpt #8) Recording of                                               Day 3
                                                                                      1/16
           Agent -     Sears and GJP travel from MIA to Hotel -
  351h     Erwin       Synced Audio & Transcript
   352
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   355
                        Transcript - 2016-04-28 Recording of
           Agent -      William Sears and Guy Jean-Pierre travel
  356      Erwin        from MIA Airport to Hotel

           W. Sears
           FBI UC #2
           Agent - Varel DVD-Audio Recording - 2016-04-28                             1/16                Day 3
           Agent -       Recording of Dinner Meeting: William
  357      Erwin         Sears, Guy Jean-Pierre, and "EJ"
  358
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EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears
           FBI UC #2
                                                                                                       Day 3
           Agent - Varel 2016-04-28 (Excerpt #1) Recording of
           Agent -       Dinner Meeting: Sears, GJP, and EJ -                      1/16
  358a     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent - Varel 2016-04-28 (Excerpt #2) Recording of                                          Day 3
           Agent -       Dinner Meeting: Sears, GJP, and EJ -                      1/16
  358b     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent - Varel 2016-04-28 (Excerpt #3) Recording of                                          Day 3
           Agent -       Dinner Meeting: Sears, GJP, and EJ -                      1/16
  358c     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent - Varel 2016-04-28 (Excerpt #4) Recording of
                                                                                                        Day 3
           Agent -       Dinner Meeting: Sears, GJP, and EJ -                      1/16
  358d     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent - Varel 2016-04-28 (Excerpt #5) Recording of                                           Day 3
           Agent -       Dinner Meeting: Sears, GJP, and EJ -
                                                                                   1/16
  358e     Erwin         Synced Audio & Transcript
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EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears
           FBI UC #2
           Agent - Varel 2016-04-28 (Excerpt #6) Recording of                                             Day 3
           Agent -       Dinner Meeting: Sears, GJP, and EJ -                       1/16
  358f     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent - Varel 2016-04-28 (Excerpt #7) Recording of                                             Day 3
           Agent -       Dinner Meeting: Sears, GJP, and EJ -                       1/16
  358g     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent - Varel 2016-04-28 (Excerpt #8) Recording of                                             Day 3
                                                                                    1/16
           Agent -       Dinner Meeting: Sears, GJP, and EJ -
  358h     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent - Varel 2016-04-28 (Excerpt #9) Recording of                                             Day 3
                                                                                    1/16
           Agent -       Dinner Meeting: Sears, GJP, and EJ -
  358i     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent - Varel 2016-04-28 (Excerpt #10) Recording of                      1/16                   Day 3
           Agent -       Dinner Meeting: Sears, GJP, and EJ -
  358j     Erwin         Synced Audio & Transcript
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EXHIBIT                                                             ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears
           FBI UC #2
                                                                                                             Day 3
           Agent - Varel 2016-04-28 (Excerpt #11) Recording of
                                                                                       1/16
           Agent -       Dinner Meeting: Sears, GJP, and EJ -
  358k     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent - Varel 2016-04-28 (Excerpt #12) Recording of                                               Day 3
           Agent -       Dinner Meeting: Sears, GJP, and EJ -                          1/16
  358l     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2                                                                                         Day 3
           Agent - Varel 2016-04-28 (Excerpt #13) Recording of
           Agent -       Dinner Meeting: Sears, GJP, and EJ -                          1/16
 358m      Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
                                                                                                             Day 3
           Agent - Varel 2016-04-28 (Excerpt #14) Recording of                         1/16
           Agent -       Dinner Meeting: Sears, GJP, and EJ -
  358n     Erwin         Synced Audio & Transcript
                         Transcript - 2016-04-28 Recording of
           Agent -       Dinner Meeting: William Sears, Guy Jean-
  359      Erwin         Pierre, and "EJ"
                         DVD-Audio Recording - Events of 2016-
           Agent -       04-29 Meeting: William Sears, Guy Jean-                       1/16                  Day 3
  360      Erwin         Pierre, and "EJ"
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EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                   DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears       DVD-2016-04-29 Recording Excerpt of
           Agent- Varel   Walk to Meeting: William Sears and Guy                                             Day 3
           Agent -        Jean-Pierre - Audio synced with                             1/16
  361      Erwin          Transcript

           W. Sears
           Agent- Varel DVD-Video/Audio - Events of 2016-04-                                                 Day 3
                                                                                      1/16
           Agent -      29 Meeting: William Sears, Guy Jean-
  362      Erwin        Pierre, and "EJ"
                        Transcript - Events of 2016-04-29
           Agent -      Meeting: William Sears, Guy Jean-Pierre,
  363      Erwin        and "EJ"

           W. Sears
           Agent- Varel 2016-04-29 (Excerpt #1) Recording of
           Agent -      Breakfast Meeting: Sears, GJP, and EJ -                                              Day 3
                                                                                      1/16
  363a     Erwin        Synced Video & Transcript

           W. Sears
           Agent- Varel 2016-04-29 (Excerpt #2) Recording of
           Agent -      Breakfast Meeting: Sears, GJP, and EJ -                       1/16                   Day 3
  363b     Erwin        Synced Video & Transcript

           W. Sears
           Agent- Varel 2016-04-29 (Excerpt #3) Recording of
           Agent -      Breakfast Meeting: Sears, GJP, and EJ -                       1/16                   Day 3
  363c     Erwin        Synced Video & Transcript
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EXHIBIT                                                           ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears
           Agent- Varel 2016-04-29 (Excerpt #4) Recording of                                                 Day 3
           Agent -      Breakfast Meeting: Sears, GJP, and EJ -                      1/16
  363d     Erwin        Synced Video & Transcript

           W. Sears
           Agent- Varel 2016-04-29 (Excerpt #5) Recording of                                                 Day 3
           Agent -      Breakfast Meeting: Sears, GJP, and EJ -                      1/16
  363e     Erwin        Synced Video & Transcript

           W. Sears
           Agent- Varel 2016-04-29 (Excerpt #6) Recording of
                                                                                                             Day 3
           Agent -      Breakfast Meeting: Sears, GJP, and EJ -                      1/16
  363f     Erwin        Synced Video & Transcript

           W. Sears
           Agent- Varel 2016-04-29 (Excerpt #7) Recording of
           Agent -      Breakfast Meeting: Sears, GJP, and EJ -                                              Day 3
                                                                                     1/16
  363g     Erwin        Synced Video & Transcript

           W. Sears
           Agent- Varel 2016-04-29 (Excerpt #8) Recording of
                                                                                                             Day 3
           Agent -      Breakfast Meeting: Sears, GJP, and EJ -                      1/16
  363h     Erwin        Synced Video & Transcript

           W. Sears
           Agent- Varel 2016-04-29 (Excerpt #9) Recording of
           Agent -      Breakfast Meeting: Sears, GJP, and EJ -                      1/16                    Day 3
  363i     Erwin        Synced Video & Transcript
  364
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EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           Agent-Varel
           Interstate  Negotiated Check made out to Guy M.                                                 Day 10
                                                                                    1/28
  365      Bank        Jean-Pierre for $5,000                             X

           Agent-Varel
           Interstate  FirstBank Declaration for $5,000                                                    Day 10
                                                                                    1/28
  366      Bank        Cashier's Check                                    X

           Agent-Varel Bank of America - Declaration and
           Interstate  Record of $5,000 Cashier's Check                             1/28                   Day 10
  367      Bank        negotiated at Banco Popular
  368
  369
                        FedEx Slip with tracking number                             1/28                   Day 10
  370      Agent- Varel 807645904914 dated 04/22/2016                     X
  371
                         Disc with all email attachments 372a-
  372      Agent-Funk    372ppp

           W. Sears    5/23/2011 E-mail from Dittman to                             1/28                   Day 10
  372a     Agent- Funk Samson                                             X

           W. Sears    5/31/2011 - E-mail from Sears to Jean-                       1/14                    Day 1
  372b     Agent- Funk Piere                                              X

           W. Sears    7/12/2011 - E-mail from Sears to Jean-                       1/15                    Day 2
  372c     Agent- Funk Pierre                                             X

           W. Sears    7/17/2011 - E-mail from Sears to Jean-                       1/14                    Day 1
  372d     Agent- Funk Pierre                                             X
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EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears    7/17/2011 - E-mail from Sears to Jean-                      1/15                   Day 2
  372e     Agent- Funk Pierre                                            X

           W. Sears    7/18/2011 - E-mail from Jean-Pierre to                      1/15                   Day 2
  372f     Agent- Funk Sears                                             X

           W. Sears    7/26/2011 - E-mail from DiTommaso to                        1/28                  Day 10
  372g     Agent- Funk Jean-Pierre                                       X

           W. Sears    7/28/2011 - E-mail from Oxford Capital                      1/14                   Day 1
  372h     Agent- Funk to Sears                                          X

           W. Sears    8/8/2011 - E-mail from Sears to Jean-                       1/14                   Day 1
  372i     Agent- Funk Pierre                                            X

           W. Sears    8/9/2011 - E-mail from Jean-Pierre to                       1/14                   Day 1
  372j     Agent- Funk Sears                                             X

           W. Sears    8/24/2011 - E-mail chain from Jean-                         1/14
                                                                                                          Day 1
  372k     Agent- Funk Pierre to Sears                                   X

           W. Sears    9/13/2011 - E-mail from Jean-Pierre to                      1/14                   Day 1
  372l     Agent- Funk Sears and Dittman                                 X

           W. Sears    9/14/2011 - E-mail from Jean-Pierre to                      1/14                   Day 1
 372m      Agent- Funk Sears                                             X

           W. Sears    9/15/2011 - E-mail from Jean-Pierre to
  372n     Agent- Funk Sears                                             X
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EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears    9/15/2011 - E-mail from Jean-Pierre to
  372o     Agent- Funk Sears                                              X

           W. Sears    10/7/2011 - E-mail from Dittman to                          1/15                     Day 2
  372p     Agent- Funk Sears                                              X

           W. Sears    10/25/2011 - E-mail from Jean-Pierre to                     1/14                     Day 1
  372q     Agent- Funk Sears                                              X

           W. Sears    10/26/2011 - E-mail from Jean-Pierre to                                              Day 2
  372r     Agent- Funk Sears                                              X        1/15


           W. Sears    11/3/2011 - E-mail from Dittman to                                                   Day 4
                                                                                   1/17
  372s     Agent- Funk Kramer                                             X

           W. Sears    11/14/2011 - E-mail from Sears to Jean-                     1/14                     Day 1
  372t     Agent- Funk Pierre                                             X

           W. Sears    11/16/2011- E-mail from Sears to Jean-                                               Day 1
                                                                                   1/14
  372u     Agent- Funk Pierre                                             X

           W. Sears    11/30/2011 - E-mail from Jean-Pierre to                     1/17                     Day 4
 372w      Agent- Funk Dittman                                            X

           W. Sears    12/26/2011 -E-mail from Jean-Pierre to                                               Day 2
                                                                                   1/15
  372x     Agent- Funk Dittman and Sears                                  X

                                                                                                            Day 4
           W. Sears    12/27/2011 - E-mail from Dittman to                         1/17
  372y     Agent- Funk Sears and Jean-Pierre                              X
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EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears    12/29/2011 - E-mail from Dittman to                          1/17                   Day 4
  372z     Agent- Funk Sears, Jean-Pierre, and DiTommaso                  X

           W. Sears    12/29/2011 - E-mail from OTC to                               1/17                  Day 4
 372aa     Agent- Funk Dittman                                            X

           W. Sears                                                                 1/15                   Day 2
 372bb     Agent- Funk 1/3/2012 - E-mail from Sears to Dittman            X

           W. Sears    1/14/2012 - E-mail between Sears and                         1/14                   Day 1
 372cc     Agent- Funk Jean-Pierre                                        X

           W. Sears    3/14/2012 - E-mail from Jean-Pierre to                       1/15                   Day 2
 372dd     Agent- Funk Sears cc Dittman                                   X

           W. Sears    3/23/2012 - E-mail from Jean-Pierre to                       1/15                   Day 2
 372ee     Agent- Funk Sears                                              X

           W. Sears    5/23/2012 - E-mail from Sears to Jean-                       1/15                   Day 2
 372ff     Agent- Funk Pierre and Dittman                                 X

           W. Sears    5/23/2012 - E-mail from Sears to Jean-                                              Day 2
                                                                                    1/15
 372gg     Agent- Funk Pierre cc Bodden                                   X

           W. Sears    6/7/2012 - E-mail from Sears to Dittman                                             Day 2
                                                                                    1/15
 372hh     Agent- Funk and Jean-Pierre                                    X

           W. Sears    6/11/2012 - E-mail from McGehee at                           1/14                   Day 1
  372ii    Agent- Funk Pacific Stock Tranfer to Sears                     X
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EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears    6/13/2012 - E-mail from Dittman to                                                  Day 4
                                                                                   1/17
  372jj    Agent- Funk Bodden cc Sears and Jean-Pierre                   X

           W. Sears    6/14/2012 - E-mail from Jean-Pierre to                      1/15                    Day 2
 372kk     Agent- Funk Sears                                             X

           W. Sears    6/18/2012 - E-mail from Bodden to                           1/28                   Day 10
  372ll    Agent- Funk Dittman and Sears                                 X

           W. Sears    6/18/2012 - E-mail from Jean-Pierre to                      1/14                    Day 1
372mm      Agent- Funk Sears                                             X

           W. Sears    6/19/2012 - E-mail from Jean-Pierre to                                              Day 2
 372nn     Agent- Funk Sears                                             X         1/15


           W. Sears    6/28/2012 - E-mail from Jean-Pierre to                      1/14
                                                                                                           Day 1
 372oo     Agent- Funk Sears                                             X

           W. Sears    7/11/2012 - E-mail from Jean-Pierre to                      1/14                    Day 1
 372pp     Agent- Funk Sears                                             X

           W. Sears    7/20/2012 - E-mail from Sears to                                                    Day 2
                                                                                   1/15
 372qq     Agent- Funk Dittman                                           X

           W. Sears    7/24/2012 - E-mail from Sears to                            1/14                    Day 1
 372rr     Agent- Funk Dittman                                           X

           W. Sears    8/8/2012 - E-mail from Dittman to                           1/17                    Day 4
 372ss     Agent- Funk Bodden cc Sears and Jean-Pierre                   X
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EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears    9/12/2012 - E-mail from Sears to Jean-                       1/14                   Day 1
 372tt     Agent- Funk Pierre cc Dittman                                  X

           W. Sears    11/26/2012 - E-mail from Jean-Pierre to                      1/15                   Day 2
 372uu     Agent- Funk Sears cc Dittman                                   X

           W. Sears    11/26/2012 - E-mail from Dittman to                          1/17                   Day 4
 372vv     Agent- Funk Jean-Pierre                                        X

           W. Sears    11/29/2012 - E-mail from Dittman to                          1/17                   Day 4
 372ww     Agent- Funk Jean-Pierre cc Sears                               X

           W. Sears    12/8/2012 - E-mail from Jean-Pierre to                       1/15                   Day 2
 372xx     Agent- Funk Sears then forwarded to Dittman                    X

           W. Sears    12/10/2012 - E-mail from Jean-Pierre to                      1/14
                                                                                                           Day 1
 372yy     Agent- Funk Sears                                              X

           W. Sears    12/18/2012 - E-mail from Dittman to                          1/17                   Day 4
 372zz     Agent- Funk Sears, Jean-Pierre, and Bodden                     X

           W. Sears    12/27/2012 - E-mail from Sears to                                                   Day 2
                                                                                    1/15
 372aaa    Agent- Funk Dittman                                            X

           W. Sears    1/22/2013 - E-mail from Sears to Eric                                               Day 2
                                                                                    1/15
 372bbb    Agent- Funk Miller at Scottdale                                X

           W. Sears    2/27/2013 - E-mail from Sears to Jean-                       1/15                   Day 2
 372ccc    Agent- Funk Pierre                                             X
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EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears    3/1/2013 - E-mail from Jean-Pierre to                                              Day 2
                                                                                   1/15
 372ddd    Agent- Funk Sears                                             X

                                                                                                          Day 2
           W. Sears    3/5/2013 - E-mail from Jean-Pierre to                       1/15
 372eee    Agent- Funk Sears                                             X

           W. Sears    3/6/2013 - E-mail from Jean-Pierre to                                              Day 4
                                                                                   1/17
 372fff    Agent- Funk Dittman cc Sears                                  X

           W. Sears    4/26/2013 - E-mail from Jean-Pierre to                      1/14                   Day 1
 372ggg    Agent- Funk Sears then forwarded to Dittman                   X

           W. Sears    6/28/2013 - E-mail from Jean-Pierre to                      1/15                   Day 2
 372hhh    Agent- Funk Sears forwarded to Dittman                        X
                       6/29/2013 - E-mail from Sears to
           W. Sears    Dittman forwarding an email from Jean-                      1/15                   Day 2
 372iii    Agent- Funk Pierre                                            X

           W. Sears    6/30/2013 - E-mail from Jean-Pierre to                      1/17                   Day 4
 372jjj    Agent- Funk Dittman cc Sears                                  X

           W. Sears    6/30/2013 - E-mail from Sears to                            1/15                   Day 2
 372kkk    Agent- Funk Dittman cc Jean-Pierre                            X

           W. Sears    7/2/2013 - E-mail from Jean-Pierre to                                              Day 4
                                                                                   1/17
 372lll    Agent- Funk Dittman cc Sears                                  X

       W. Sears    8/15/2013 - E-mail from Jean-Pierre to                                                 Day 2
                                                                                   1/15
372mmm Agent- Funk Sears                                                 X
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EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears    8/20/2013 - E-mail from Dittman to                           1/17                    Day 4
 372nnn    Agent- Funk Sears                                              X
                       8/21/2013 -E-mail from Sears to
           W. Sears    Dittman forwarding email from Jean-                                                  Day 2
                                                                                    1/15
372ooo     Agent- Funk Pierre                                             X

           W. Sears     9/13/2013 - E-mail from Sears to                            1/14                    Day 1
 372ppp    Agent- Funk Dittman                                            X
                        SDNY Case 04-cr-00556 - Judgment
  373      Agent - Funk (William Sears)                                   X

                                                                                    1/17            Day 4 - Pages 304-305 ONLY
  374      Agent - Funk Florida Bar File re Jean-Pierre
                        Jean-Pierre SEC transcript from
  375      Agent - Funk testimony on 10/18/2011
                        Jean-Pierre SEC transcript from
  376      Agent - Funk 12/13/2012 deposition
                        SEC Judgment in NY case re defendant
  377      Agent - Funk Jean-Pierre
                        Florida Supreme Court records for Case
  378      Agent - Funk Number SC12-2727

  379      Agent - Funk Guy Jean Pierre's Conviction

           W. Sears     Emails from Sears to Dittman dated                          1/14                    Day 1
  380      Agent - Funk 5/4/2011 with subject "business plan"             X

                        Email from Gino Rodrigues to Dittman                        1/14
                                                                                                             Day 1
           W. Sears     and Sears dated 5/9/2011 attaching
  381      Agent - Funk Corporate Minutes_05911.pdf                       X
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EXHIBIT                                                           ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                        Email from Sears to Jean-Pierre with cc
                        to Dittman dated 10/17/2011 attaching                                               Day 1
           W. Sears     Nominee Declaration of Shares (with                          1/14
  382      Agent - Funk variables)                                         X

           W. Sears     Email from Sears to Dittman dated                                                   Day 2
                                                                                     1/15
  383      Agent - Funk 6/20/2011 with subject "Stock"                     X

                        Email from Sears to Dittman dated
                        07/12/2011 forwarding email from Jean-                                              Day 2
                                                                                     1/15
           W. Sears     Pierre to Sears attaching Fusion Pharm
  384      Agent - Funk Disclosure Statement dated 06/30/2011              X

                        Email from Jean-Pierre to Dittman dated
           W. Sears     07/18/2011 subject: "Meeting with                            1/15                   Day 2
  385      Agent - Funk Attorney re Pink Sheets Opinion Letter"            X

                        Email from Sears to Jean-Pierre with cc
                        to Dittman dated 07/28/2011 attaching
                        Oxford 2011 Deals, Share Purchase
           W. Sears     Overview, and Oxford Sample OSP Share
  386      Agent - Funk Purchase Agreement                                 X

           W. Sears     Email from Dittman to Richard Rhodes                         1/17                   Day 4
  387      Agent - Funk dated 10/18/2011 with subject "skype"              X

           W. Sears     Email from Jean-Pierre to Dittman dated                      1/17                   Day 4
  388      Agent - Funk 11/7/2011 with subject "skype"                     X
  389
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EXHIBIT                                                       ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION               AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears
           RCFL                                                                                         Day 2
           Examiner      Skyp messages between users                             1/15
  389a     Agent-Funk    donmarcusi and wjsears66                      X

           W. Sears
           RCFL                                                                                         Day 2
           Examiner      Skype messages between users                           1/15
  389b     Agent-Funk    donmarcusi and billysears66                   X

           W. Sears
           RCFL                                                                                         Day 2
                                                                                 1/15
           Examiner      Skype messages between users
  389c     Agent-Funk    elcommandante1 and trader5280                 X

           W. Sears
           RCFL
                                                                                                        Day 2
           Examiner     Skype message for user                                   1/15
  389d     Agent-Funk   elcommandante1                                 X
                        Email from Dittman to Paychex dated
           W. Sears     9/29/2011 with subject "Payroll -                        1/17                   Day 4
  390      Agent - Funk Paychex"                                       X
                        Email from Sears to Dittman dated
                        12/05/2011 attaching Fusion Pharm                        1/15
           W. Sears     Disclosure Statement Draft dated                                                Day 2
  391      Agent - Funk 12/02/2011                                     X

           RCFL
                                                                                 1/17                   Day 4
           Examiner     Skype messages recovered from
  392      Agent - Funk Dittman's computer                             X
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EXHIBIT                                                           ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears     Email from Sears to Dittman dated                                                   Day 2
                                                                                     1/15
  393      Agent - Funk 7/2/2012 with subject "Cash"                       X
                        Email from Dittman to Roy and Sears
           W. Sears     with cc to Jean-Pierre dated 02/13/2013                      1/17                   Day 4
  394      Agent - Funk subject: "RE:FSPM"                                 X

           W. Sears     Annual Information and Disclosure                            1/17                   Day 4
  395      Agent - Funk Statement dated 12/31/2012                         X

                        Email from Sears to Dittman forwarding
                        email from Jean-Pierre to Sears dated                        1/14                   Day 1
           W. Sears     02/28/2013 attaching Amended and
  396      Agent - Funk Restated Articles of Incorporation                 X

           W. Sears     Email from Sears to Dave Roy dated                                                  Day 1
                                                                                    1/14
  397      Agent - Funk 3/4/2013 with subject "FSPM"                       X
                        Email from Sears to Dittman dated
           W. Sears     3/8/2013 with subject 'FSPM OTC                              1/15                   Day 2
  398      Agent - Funk Markets Opn Ltr"                                   X
                        Email from Sears to Dittman dated
           W. Sears     06/28/2013 attaching Pink Sheets                             1/15                   Day 2
  399      Agent - Funk Opinion Letter dated 11/21/2012                    X

                        Email from Sears to Jean-Pierre with cc
                        to Dittman dated 08/08/2013 attaching
                        DiBella document dated 03/29/2013                                                   Day 2
           W. Sears     and Meadpoint Letter of Opinion dated                        1/15
  400      Agent - Funk 08/08/2013                                         X
                        PRNewswire Press Release dated
                        8/27/2012 - FusionPharm Enters Major
  401      Agent - Funk Expansion Phase
                      Case 1:17-cr-00008-WJM Document 207 Filed 01/30/19 USDC Colorado Page 68 of 72



EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                        PRNewswire Press Release dated
                        9/10/2012 - Vertifresh Outlines Urban
  402      Agent - Funk Farming Strategy
                        PRNewswire Press Release dated
                        11/26/2012 - FusionPharm Signs
                        Licensing Agreement for Flowering
  403      Agent - Funk Containers

                          PRNewswire Press Release dated
                          2/6/2013 - FusionPharm Completes Sale                       1/25               ADMITTED DAY 8
  404      Agent - Funk   of PharmPod High Intensity Containers                                          REFUSED - Day 4
                          Accesswire Press Release dated
                          7/29/2013 - Meadpoint Completes First
  405      Agent - Funk   California Sale
                          GoDaddy Return for William Sears                            1/25                   Day 9
  406      Agent - Funk   account                                           X
                          GoDaddy return -
                                                                                      1/25                   Day 9
  407      Agent - Funk   advisor@flbusinesshelp.com                        X
  408

                        Summary Chart - Sears Role Transition                         1/25                   Day 9
  408a     Agent - Funk of Baby Bee Bright to FusionPharm                   X
                        Summary Chart - Sears Role at
                                                                                      1/25                   Day 9
  408b     Agent - Funk FusionPharm                                         X
                        Summary Chart - Sears Role -
  408c     Agent - Funk FusionPharm Stock                                   X         1/25                   Day 9

                                                                                      1/25                   Day 9
  408d     Agent - Funk Summary Chart - Sears Role - OTC Filings            X
                        Summary Chart - Sears Role - Payments
                                                                                      1/25                   Day 9
  408e     Agent - Funk to Jean-Pierre                                      X
                        Summary Chart - Sears Role - Bayside
                                                                                      1/25                   Day 9
  408f     Agent - Funk and Meadpoint Notes                                 X
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EXHIBIT                                                             ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                                                                                                               Day 9
  408g     Agent - Funk Summary Chart - Sears Role - FINRA                   X        1/25
                        Summary Chart - Jean-Pierre's Role with
  409      Agent - Funk FusionPharm                                                                    DEMONSTRATIVE ONLY - NOT to Jury
  410
  410a
                         Colorado Secretary of State Records -
           Agent-Funk    Microcap Management                                          1/25                     Day 9
  410b                                                                       X
                         Nevada Secretary of State Records -
                                                                                      1/25                     Day 9
  410c     Agent-Funk    Bayside Realty Holdings LLC                         X
                         North Carolina Secretary of State
                                                                                                               Day 9
                         Records - Bayside Realty Holdings LLC
  410d     Agent-Funk                                                        X        1/25

                         Colorado Secretary of State Records -                                                 Day 9
                                                                                      1/25
  410e     Agent-Funk    Bayside Realty Holdings LLC                         X
                         Nevada Secretary of State Records -
  410f     Agent-Funk    FusionPharm Inc                                     X        1/25                     Day 9
                         Colorado Secretary of State Records -
                                                                                                               Day 9
  410g     Agent-Funk    FusionPharm Inc                                     X        1/25
                         Nevada Secretary of State Records -
  410h     Agent-Funk    Meadpoint Venture Partners LLC                      X        1/25                     Day 9

                         Colorado Secretary of State Records -                        1/25                     Day 9
  410i     Agent-Funk    Meadpoint Venture Partners LLC                      X
                         Colorado Secretary of State Records - VF
                                                                                      1/25                     Day 9
  410j     Agent-Funk    Management Inc                                      X
                         Colorado Secretary of State Records -
                                                                                      1/25                     Day 9
 410k      Agent-Funk    LaDeeDa                                             X
  410l
 410m
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EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                        Florida Secretary of State Records -
                                                                                      1/25                 Day 9
  410n     Agent-Funk Prestige Media                                        X
                        Colorado Secretary of State Records -
                                                                                      1/25                 Day 9
  410o     Agent-Funk Salt Investments LLC                                  X
                        Colorado Secretary of State Records -
                                                                                      1/25                 Day 9
  410p     Agent Funk Vertifresh LLC                                        X
                        SEC Attestation of Non-existence of
  411      Agent - Funk Registration for FusionPharm                                  1/25                 Day 9
                                                                            X
  412
                        SEC Complaint RE Jean-Pierre -
  413      Agent - Funk 12/06/2012

                        SEC Order Imposing Temporary
  414      Agent - Funk Suspension RE Jean-Pierre - 05/20/2015
                        SEC Order of Suspension RE Jean-Pierre -
  415      Agent - Funk 05/20/2015
                        JP Morgan Chase - Jean-Pierre & Jean-
                        Pierre, LLC
                        IOLTA Trust Account
                        Escrow Account
  416                   Acct Ending: 0238
                        Bank of America - Florida IOTA Trust
                        Account
                        Jean-Pierre & Jean-Pierre
  417                   Acct Ending: 4688
                        Union Bank - Tod A. Ditommaso
  418                   Acct Ending: 3439                                   X
                        Union Bank - Tod A. Ditommaso
                        Law Office of Tod Ditommaso
                        Attorney Client Trust Account
  419                   Acct Ending: 3447                                   X
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EXHIBIT                                                           ADM /                        RUL.
NO. /LTR   WITNESS                 DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                      Wells Fargo Bank - Bayside Realty
                      Holdings LLC
  420                 Acct Ending: 2037                                    X
                      Wells Fargo Bank - Vertifresh LLC
  421                 Acct Ending: 0233                                    X

                      Wells Fargo Bank - Fusion Pharm Inc
  422                 Acct Ending: 0307                                    X

                      Wells Fargo Bank - Fusion Pharm Inc
  423                 Acct Ending: 0090                                    X
                      Wells Fargo Bank - Meadpoint Venture
                      Partners
  424                 Acct Ending: 9917                                    X
                      Wells Fargo Bank - Microcap
                      Management LLC
  425                 Acct Ending: 0560                                    X
                      Wells Fargo Account for 10MM Holdings
  426                 LLC ending in 1196                                   X
  427                 Pacific Stock Transfer Declaration                   X
  428                 Oppenheimer Declaration                              X
  429                 Scottsdale Declaration                               X         1/22            Day 6 - Paper Copy Only
  430

                      Oppenheimer - Monthly Statements for
  431                 Microcap account ending in 9990                      X

                      Scottsdale - Account Activity Reports for                      1/22                  Day 6
  432                 Meadpoint account ending in 7669                     X

                      Scottsdale - Account Activity Reports for
                                                                                     1/22                  Day 6
  433                 Microcap account ending in 7090                      X
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EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                       Scottsdale - Account Activity Reports for                                         Day 6
                                                                                      1/22
  434                  Bayside account ending in 4611                       X

                       Scottsdale - Wire Transfer request for                          1/22               Day 6
  435                  Microcap account ending in 9990                      X

                       Scottsdale - Wire Transfer request for                         1/22                Day 6
  436                  Meadpoint account ending in 7669                     X
                       Scottsdale - Wire Transfer request for                                             Day 6
                                                                                      1/22
  437                  Bayside account ending in 4611                       X

  438                  Sears eTrade Account ending in #1511                 X

  439                  DiTommaso's Verizon Wireless records                 X
                       Google Voice records associated with
  440                  Account 305-929-3652                                 X
                       PSTC - Shareholders Lists for
  441                  FusionPharm
  442
           DiTommaso DiTommaso SEC transcript from
  443                testimony on 01/08/2015
  444      Thel      Summary Chart - Security Law                                      1/28                 Day 10
                     OTC Markets Website - Fusion Pharm,
  445      OTC       Inc. Overview
  446                 Mr. Sears' Plea Agreement                                                      Admitted Day 3 and Ordered removed
  447                                                                                                Day 6 [ECF 187]
  448
  449
  450
